Case 1:11-cv-05083-MKB-CLP Document 22-5 Filed 02/14/13 Page 1 of 76 PageID #: 282




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Case 1:11-cv-05083-MKB-CLP Document 22-5 Filed 02/14/13 Page 2 of 76 PageID #: 283

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Case 1:11-cv-05083-MKB-CLP Document 22-5 Filed 02/14/13 Page 3 of 76 PageID #: 284




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Case 1:11-cv-05083-MKB-CLP Document 22-5 Filed 02/14/13 Page 4 of 76 PageID #: 285


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     Lqt fi.øwn Q9 6ins on, As sistant Qrincipa[ (Lr4,)                           Fa4 718-77E-7385



                                        Instruction Observation Protocol

     Observer: J Nabors               Teacher: E, Weber                 Date: l0/3/05
     Subject:     Chemistry            Period: I                        # of students: I 0
     Lesson (Aim): l(hat are protons, neutrons and electrons?


     Observations:

    Upon entering the class I asked for your lesson plan. You were distributing a worksheet
    stating that students should draw a picture-model of an atom. You had a student read the
    worksheet out loud and then provided students with drawing paper and markers. you
    provided them with a chemistry book..

    Comments:
      l. You did not provide me with a lesson plan.
      2. As I walked around I noted that students were unsure of the assignment.
      3. Students had text books but did not know where to find information that might
         assist them with the assignment.
      4. No homework was indicated.
    Please be advised th-at y9u must plan accordingly for classes on a daily basis and have a
    plan available for administration. Last week we discussed and reviewed the workshop
    model as well as the lesson plan'format. PleasE utilize the model and format as a guiäe in
    planning for your classes.

    I am attaching the expanded form of the template which should assist you in developing
    your plans. Feel free to contact me if you need additional assistance.

    JN:me
    Attachment




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Case 1:11-cv-05083-MKB-CLP Document 22-5 Filed 02/14/13 Page 5 of 76 PageID #: 286




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Case 1:11-cv-05083-MKB-CLP Document 22-5 Filed 02/14/13 Page 6 of 76 PageID #: 287


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      LøS ñawn ß,96iuon, t4.ssistant cerincipaî (t.fl.)                                          Fa4 718-778-7385

      October 21,2005


      Mr. Edward rüeber
      Brownsville Academy High School
      I150 East New York Avenue
      Brooklyn,l{Y I l212

   Dea¡ Mr. Weber:

   While in Mr. Andrews' leadership class, I heard a very loud noise coming from your room, I went to your classroom to
   investigate' Upon enteríng yoìu Period 3 Leadership Class I noticed sweral students were not activeþ engaged in your
   lesson, You were sitting at your desk reading. I sat down and although I had not asked for a lesson plan you gave one ro
   me (a copy is attached).

   The majority of the materials on thc chalkboard were chernistry notes. On a barely legible section of the board you had
   written: t'Leadership: What is an autobiogaphy? What makes an exciting story?" There were no other notes pertaining
   to the lesson.

   A student asked you about some material she had written and you stated is was very good. She quickly replied that you
   had not read it so how could you state it was very good. You then began to distribute folders, Two students also
   indicated that you had not re¿d the material ìn their folders. One student stated that that she didn't think it was right that
   you didn't read her work,

  Upon rettrming to my oflice I called you and requestd a meeting. At l:20m pm Ms. Robinson and I mct with you. I
  began the meeting in a very professional nunner and atternptcd to explain that thc purpos€ of the meeting wa"io discuss
  the lesson plan you presented to me. You became very agitated and abrupt in asking if you needed your rinion rep. I
  calmly tried to explain it was an informal discussion of your lesson plan, You became more agitated, You than siated
  that you did not know to utilize the fom¡at. At this point Ms. Robiruon intedected that she traã visited your class and
  discussed the format. I statcd that I gave a copy of thc plan to you and during our Monday professionaidevelopment
  sessions we had worked on thc format. At this point you bccame very belligercnt and you told me,,to be quiet;'. At that
  point I asked you to leave my office.

  I                  I meçting           to discuss this matter. Please have your UFT represmtative present,



   oannc Nabon, Principal
    LaShawn Robinson
  Enclosu¡e

  I                                     this letter>



  Edward Weber
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Case 1:11-cv-05083-MKB-CLP Document 22-5 Filed 02/14/13 Page 7 of 76 PageID #: 288




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Case 1:11-cv-05083-MKB-CLP Document 22-5 Filed 02/14/13 Page 8 of 76 PageID #: 289




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          L aS fra'wn rRp Sinso n,
                                     n s rista n t rprinc ipa   I                                      fa4' 718-778-Z-185
          Name of Teacher: Mr. Weber
          Date of Observation: Thursday, March 16,2006
          Date of Post-Observation: Thursday, March
                                                    16.2006
          Class: Chemistry
          Students Present: I I Students
          Objective: States of Matter

         Dear Mr. Weber:


                                              , I observed
                                                                 ?"0
                                                                    yoll
                                                                     period class, The lesson began with a
                                              tudents were called upon to answer questions ,.gírdlng
                                                                                                         furc
                                              After a brief cliscussion a worksheet consisting Jf qu.r-tion,
                                                                           res, elements, compounds and chemical
                                                                            ts were asked to complete the sheet, After a
                                                                              ir answers. The remainder of the period
                                                                               During the discussion simple


         The following items were worthy of commendation:
             1' You had a modifred lesson plan and attempted to follow it. The objective
                                                                                          and
               Diploma Plus competency were written on the
                                                               boará as students entered the
               room.
            2' Students were prwided the opportunity to work on regent type questions. This
               good in that it will provide them with éxposure.to                              is
                                                                  theiype of questions that they
               will be fbcing when they take the regents examination.

        The.following suggestions werç offered at our post-observation
           l' There were I I students present in youròlass of which halfconference:
                                                                                 came to class late. you
                mu.st stress to.the.students the impoftance
                                                            of coming to                              ts
               continue con:ing late, speak withihem privately
                                                                     or õall
               them of this. When students come late, ìnrr.
          2' It is imperative that you make your presence t'elt ué,irri"                              e,
                                                                     throughout the lesson. when
               students are working either on their own or
                                                              in groups, iou must wark around
               either helping them with their work or checkin!
                                                                    to *áú. sure they are doing what
               4.y are suppose to be doing,
          3' This lesson was teacher dominated. You did too much of the talking cluring
                                                                                                  the
              class discussions. Participation in the oral part
                                                                  of the lesson was limited to-only a
              f'ew students. A greater effbrt must be macl'e
                                                               to !.i .ìl itr. students involved in all
              aspects of the lesson especially ciuring the
                                                            discussions.




                                                                                                                            NYC 0262
Case 1:11-cv-05083-MKB-CLP Document 22-5 Filed 02/14/13 Page 9 of 76 PageID #: 290




               4' During the.lesson you provided the students with a few hands on experíments in
                  order to help them answer the questions. This is a great technique
                                                                                       since it allows
                  the students an opportunity to fìgure out the anr*"i while giviÅg
                                                                                      them a better
                  understanding to the subject matter. However, more of
                                                                           theJe hañds-on
                  experintents. should have been planned. The more opportunities you
                                                                                          provicle
                  students with the better their understanding will ue ån¿ the
                                                                               livelier the class will
                  become.
                                                         f closure tcl it. Since students had more
                                                         s that antícipated, you were not able to
                                                          oweveri you still must summarize the lesson
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                 orcrc,sure and have students renect     J liJiääf :Jl.J."åi:i;ff,iLå:me
          ln summary this was a satisf'actory le"sson.

         Sincerelv.
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         l)¿.,-, ,>
         Bruce Schnur
         Principal Emeritus

         I have received and read a copy of this report and understancl
                                                                        that a copy of this report
         will be placed in rny file.


                  (             3a-
         T       's Signature




                                                                                                      NYC 0263
Case 1:11-cv-05083-MKB-CLP Document 22-5 Filed 02/14/13 Page 10 of 76 PageID #: 291




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Case 1:11-cv-05083-MKB-CLP Document 22-5 Filed 02/14/13 Page 11 of 76 PageID #: 292

                   NEW YOBI( CITY O€PARTMENT OT ÉÞUCATION
                   DIVISION OF HUMAN NESOUIìCES



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          B. PUPIL GUIOANCE ANO INSTFUTTION
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             2. Conlrol ol class                                                                                                   ç
             3. Morñ16ntncû of wholssoma clgsstoom ûtmosÊhoro                                                                   -\
             4- Plsnnrna and preparal¡o¡ oi $,ork                                                                                 q
             5 Skill rn rdûÞting ìnstrtJçlron to individual necds and cspaorlies                                                  J

             6. Ellectiw use öl npprôpriôtÊ mùthods end toclì¡ique6                                                                   (
             7 Skill in                                    to PUPrlff                                                                 ç
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             I, Eviden                                                                                                             (
             10. Attenlion lo pÌ¡pìl health, safoly and 0onoral \,\Þltars                                                             s
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Case 1:11-cv-05083-MKB-CLP Document 22-5 Filed 02/14/13 Page 12 of 76 PageID #: 293



        SECTION 3. . TO BE COÍIIPLETED ONLY FOR PROBATIONARY PERSONNEL
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           copy 3 lo the approprialo superinlendenl ond copy 4 lo lho Burâau ol Teacher Flocords, 05 Court Sl,, Brooklyn, NY 11201.
        3. For recommsndstlons for continugd service or complot¡on of probåtlon for probatloners, prôpare lhle6 coplos ol roport lor
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Case 1:11-cv-05083-MKB-CLP Document 22-5 Filed 02/14/13 Page 13 of 76 PageID #: 294




                            EXHIBIT
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Case 1:11-cv-05083-MKB-CLP Document 22-5 Filed 02/14/13 Page 14 of 76 PageID #: 295


                                    2-2-t2ln the Matter of Mr. Weber
   SHEET 1




                                THE STATE EDUCATION DEPARTMENT
                           THE UNTVERSTTY OF THE STATE OF NEW YORK

                                           In the Matter of
                                 NEW YORK C]TY DEPARTMENT OF EDUCATION
                                                     V.
                                                EDWARD WEBER
                    Section 3020-a Education l¡aw ProceedÍng (File #TBA)


             DATE:                     February 2, 20L2
             TÏME                      1-0:00 a.m. tro L2:32 p.m.
                                       1:35 p.m. to 4:11 p.m.
             LOCATION:                 NYC Department of Education
                                       Office of Legal Services
                                       49-5L Chambers Street
                                       New York, NY 10007
             BEFORE:                   'JOHN WOODS, ESQ
                                       HEARING OFFTCER




                       Ubiqus Reporting, lnc.     2-2-12 Ln the Matter of Mr, Weber
                                                                                      NYC 1696
Case 1:11-cv-05083-MKB-CLP Document 22-5 Filed 02/14/13 Page 15 of 76 PageID #: 296


                                                      2-2-12ln the Matter of Mr. Weber
     SHEET 5
                                                                  244                                                                      246
 I       PHILLIPS - DIRECT - CUMMINGS                                    I       PHILLIPS - DIRECT - CUMMINGS
 2     deal with intake, incoming of new scholals to our                 2   skill-based ìearning with the standards that New York
 3     school cornmunity. I also workwith the staff in tenns             3   City has. In addition I worked on the Regent
 4     olrnaking surc that thc palroll is put togcthcr, wcll             4   cxaminations looking at whcrc scholars wcrc, and what
 5     ifthey have any issues conoerning supplies, ordering,             5   we need to do to make sure that they increase their
 6     dealing and working closely with the community-based              6   scores on standardizecl examinations,
 7     orgarrizations in tlre school, in addition to working             7           Q: And prior to your election as a
 8     with pcdagogy, instruction, cuniculum developrncnt,               8   scicncc coordinator at Lha[ scìrool you said you wcrc
 9     and--.                                                            9   there for four years, what was your position'/
t0          Q: And what are some of your duties and                     t0           A: I worked as a teaclrer. I was a
ll     responsibilities as the clrail ofthe scieuce                     ll   teacher of biology and earth scierrce at Transit Tech
l2     department?                                                      t2   f'or, well through rhe druation as being coordinator
l3            A: As (hc chair of lhc scicncc dcpadtncnt                 t3   but I workcd solcly as a tcachcr f'or onc ycar, and
t4     I lead the professional development aud alticulate and           t4   also as a dean ofdiscipline,
t5     work with the science teachers on rnaking sure lhat we           l5           Q: What other teaching experience clo you,
l6     are in compliance with everything that we need to do             l6   wel I how long have you lreen a teacher?
17     in tcnls of rnecting and cxcecding our school-widc               t7           A: ['vc becn a tcachcr sincc 2001 with
t8     goals, and also helping to develop them as teachel's.            t8   the Depaltment of Education, and I also worked with
t9            Q: And how rnany teachels do you supervise                l9   the Depaltnrent of He alth where I tr ained new health
20     as the chair ofthe science departrnent?                          20   inspec[ors and sanitary aides
2l            A: Two tcachcrs                                           2t           Q: And you saìd sincc 2001 with thc
22            Q: Immediately prior to yout selection as                      Depaßment of Education, Prior to becoming a teacher
23     an assistant principal at Blownsviìle Acaclemy wlrat             23   with the Deparlment of Education 2001 were you a
24     position did you hold?                                           24   teachel in any othel entit¡r?
25            A: I was the assistant principal of                       25           A: I wasn't a tcachcr but I rraincd ncw




                                                                  245                                                                      247
 I       PHILLIPS - DIRECT - CUMMINGS                                    I      PHILLIPS - DIRECT - CUMMTNGS
 2     orgàniz lion f'or thc New York City Vocational Î'aining           2   sanitary aidcs So it was instructional and wc had to
 3     Center wlrere tny dùties were similat'to what I'm doing           3   know the health code but it wasn't as a teacher as a
 4     now.                                                              4   position. My position was lrealthcar e, excuse me
 5            Q: And how long did you lrold that                         5   health inspector, health sanitary.
 6     position?                                                         6           Q: A¡d what is yorr cducational
 7            A: I held that position for two years                      7   background?
 8     plior to joining Bt'ownsviÌle Academy High School,                8           A: I receivecl a Bachelors iu biology flonr
 9            Q: And prior to becoming an ass¡stant                      9   Long Islarrd Universiry in 1995. I also <lid a post-
l0    principal at the New York City Vocational Training                l0   baccalaueate program where I stuclied the sciences
II    Ccrìter what position did you hold?                               II   f'urthcr f'or a ycar. I havc a Mastcrs in cduca[ion at
12           A: I was a science coordinatol at Transit                  l2   Camblidge College and I gladuated in 2004
l3    Tech High School.                                                 l3           Q: An<J what certificates or licenses clo
14           Q: And how long were you a science                         14   you hold'l
I5    coordinator?                                                      l5         A: I holct a tcachcr's lìccnsc in bìology.
l6           A: For four years, no cootdinator, I                       l6   I have an administlative license as well iu
l7    worked thele for f'our years, however I was a                     17   or ganizal.ion ancl also supervisiorr,
I8    coordirrator for thr ee years                                     l8         Q: Do you know the Respondent ilt this
l9                                                                      19   casc, Mr Edwald Wcbcr',)
20    responsibilities as a scierrce coordinator?                       20          A:Yes, I do.
2l           A: ìt's similar to assistant principal,                    2l          Q: An<J how do you know the Responclen!?
22    I helped with pedagogy. T did peer observatio¡rs. We              22          A:T superlise Mr. Weber       ,

23    workcd on ncw initirtivcs in thc scllool. I chaircd               23          Q: During thc 2009 to 2010 a¡d 2010 to
24    the research iu terms oi well the research that we                24   201 I school years vr'ere yorr the Respondent's ditect
25    wele doing wasjust developing scholars, connecting                25   supervisor?




                                Ubiqus Reporting,Inc, 2-2-12In the Matter of Mr. Weber
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Case 1:11-cv-05083-MKB-CLP Document 22-5 Filed 02/14/13 Page 16 of 76 PageID #: 297




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Case 1:11-cv-05083-MKB-CLP Document 22-5 Filed 02/14/13 Page 17 of 76 PageID #: 298

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Case 1:11-cv-05083-MKB-CLP Document 22-5 Filed 02/14/13 Page 18 of 76 PageID #: 299




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Case 1:11-cv-05083-MKB-CLP Document 22-5 Filed 02/14/13 Page 19 of 76 PageID #: 300




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       tøna cPfülhps, Lssistant rPrincipø[                                              Aa.4 718-778-7385
       Kgtwono'l|onen, Asst¡tant {Prhcipat




                                                         class




      The following is a summary of the events that occurre¡l while conducting a walk through
      observation of Mr. Weber's Chemistry class on Wednesday, April g, 200E during period 5:

      All teachers and staff members were notified during the staff conference held on 417108 and
      on the morning of 4/9/08 that the administrators will be conring around to visit classrooms.
      Likc all other important announcements and rcminderso this information was writtcn on the
      whiteboard in the main oflìce for all staff to view.

      on 4/9/08, I was assigned to the 2"d and 3'd floors and conducted the walk through
      observations beginning period 2, I started on :he 2"d floor and traveled from room to roomr
      only bypassing classes that were not in sesslon. I completed two ohservations on the second
      floor before I was summoned to roorn 30E on the 3'd floor to participate in a meeting. rtfter
      the meeting, I continued the w¡lk through observations, starting w¡itr the classroom that was
      closest in proximity to the location of the meeting. I continued tiaveling from room to room,
      again only bypassing classes that were not in session. At approximately I l;40am, t entcred
      Mr. Wcber's classroom.

      As I entered Mr. Weber's classroom, I greeted him and walked over to an empty scat in thc
      far corner of his classroom. I asked him for his lesson plan, which he immediately handcd to
      me along with a handout of work that the studentu were supposed to be completing. His
      objective of the day' sWBAT create ¡ model of a gold atom, was not only wrìtten on his lesson
      plan, but also on a small whiteboard next to his desk. I discreatly pro.eõd.d with fhe walk
      through obscrvation.
      'Io ny surprisc, thc only notcs obscrved on Mr. \ileber's
                                                                   chalkboard wcre about acids ¡nd
      bascs, which is a subjcct fh¡t is unrclatcd to his lcsson plan's objective. Furthcrmorc, thcsc
      ntltes were writtcn in my Presence on Tuesday, April l,200E during my previous observation
      of his class. Of the four students that were present, was not on his icg:stär. According to the
      HSST Line Schedule, the student belonged in Mr. Neagle's class. Oné male student was on
      the conrputcr watching a sitcom ¿rbout l gourmct cooking competition with the audio quitc
     high. A fcmalc student was fìnalizing her science fair project. Finally, the fourth student
     cntcred the classroom very late. rrVithout collecting a pass or addressing the tardiness, Mr.
     Weber handed the student an assignment to completc. All studentr w.ru working
     indepcndently on their science fair projects, not on creating a model of a gold atom as thc
     lcsson plan indicated. Unfortunately, at no time did Mr. Weber execute the objcctive of
                                                                                                his
     lcsson plan.

                                                 We Are tfre ßest!                                   NYC 0254
Case 1:11-cv-05083-MKB-CLP Document 22-5 Filed 02/14/13 Page 20 of 76 PageID #: 301


                                                                                                  Page? ol 2

       I respcctfully told Mr. Weber that ¡t is imperative that all students receive instruction daily
       rtnd clirectcd him to follow his written lesson ptan. I also reminded him of our post-
       ohscrvation confercnces where we agreed that he could maximize instructionu-l tim, by using
       class timc to tcach students new concepts daily lnstead of having studcnts conduct rescarch
       and complcte assignnrents that would be best suited for homework,

      Suddenly without any warning, Mr. Weber became qulte belligerent and shouted out loucl
      'you are harassing me' in front of the entire class. He continued to state that he ìryants to
      mcet with Ms. J Browne, Union Representative and myself. Hc even involved his studcnts by
      asking them if they would prcfer to complete their science projects in class or take time out of
      their busy lives to complete it at home. I respectfully reminded Mr. rrVeber that we ¡re both
      professionals and must be mindful of the fact that vyc are in front of our students. I kindly
      asked him to movc the conversation to the front door out of respect for oursclves, the school,
                                                                          -by
      and most importantly for our students. Mr. Weber responded              asking me to leave his
      classroom twice. I did not respond to him verbally and continued with my observation. Mr.
      Weber went so far as to leave his classroom and had a conversation with another staff
      menrbcr about the 'harassmcnt' hc was cxpcriencing. Mr. Weber reentered thc classroom
      and continued to make a spectacle of himsetf by stating.l'll be SURE to dlscuss this with Mr.
      Glick during the Quality Review when he comes in tomorrow' three times in a row. Mr.
      Weber's impulsive tirade was so unprofessional, a male student interjected and said .l can,t
      believe this...my two f¡vorite people...I can't handte this... this is .."ily upsettlng
                                                                                              me' and
      walked out of the classroom.
      'l'his is the third time this ycar that
                                              t've visitctl lVlr, Wober's classl.oom whcre stuttcnts rvcre
      tvorking indcpenrlcntly with very little to no interaction w¡s observed betwecn the teâchcr
      lnd the stuclcnts. Equally as disturbing is the fact that Mr. Wcbcr's studcnts havc bccn
      rvorking cxclusivcly on the scicnce fair projccts each time I have visitcrl his classroonr sincc
      Januury of last serne ster. Finally, b¡sed upon all of my observations of Mr. Weber's class,
                                                                                                         ilrc
      course curriculum is inappropriate, in that the content concepts tre too clcmcntary
                                                                                                 and not
      aligncd rvith thc NYS high school levcl chcmistry curricutunr,




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Case 1:11-cv-05083-MKB-CLP Document 22-5 Filed 02/14/13 Page 26 of 76 PageID #: 307


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      May 14, 2008

      Mr. Edward Weber
      Chemistry Teacher
      Brownsville Academy High School
      I 150 East New York Avenue
      Brooklyn, NY I 12l2

      Dear Mr. Weber:

      On Wednesday, April 9 I received a ftantic call from you during period 5. You stated that you were being
      "harassed by Ms. Phillips." I inquired as to how your supervisor was "harassing" you. yoü indicated thai she
      was in your room asking for a lesson plan, which you had, and that you were wõrting on the science fair, you
      further stated that you wanted to talk with your union representative and meat with m1 the next day which was
      Thursday, April 10. I told you that we could not meet because of the two-day Quality Revicw but i would gladly
      meet with you and your union representative on Monday, April 14,

      On Monday, April l4 during period 4 I met with you, Ms. J. Browne, your union represenüativo, Assistant
      Principal Phillips and Aspiring Principal Robinson. I asked you to share your perspéctive on what happened
      during your period 5 class.

      The following is a surnmary of the issues that wcre discussed at the meeting:

          o During the observation, you stated that Ms, Phillips was harassing you. You elaborated by stating that
              Ms. Phillips wanted you to move the ssience competencies to another tocation in your room and ãid not
              want you to work with your students on their science fair projects. Also, you indicated that Ms, phillips
              requested that you submit a separate lesson plan related to the science faii in addition to a cuniculum ior
              the work that will be covered for the remainder of the school year. You sumrnarized by stating that Ms,
              Phillips' requests were unrealistic and that you would like her to show you how to acctmplisñ the tasks
              that are asked ofyou.

         a    Ms' Phillips stated that she was assigned by the principal to conduct an observatìon protocol for alt
             teachers located on the 3'd floor, whioh happens to be the floor in which your chemistry class is held, All
             teachers and staff members were notified during the staffconference helà on 4/7l}Band on the moming
             of 4l9l0ï (Daily Event Board) that adminishators would be coming around to visit classrooms. Ms.
             Phillips further stated that she asked you for a lesson plan and you produced one with an objective that
             was not being implemented. At the time of the walk through observation, she stated four students were
             in the classroom. One student was watching a reality show on the internet that was not related to
             chemistry, one male student belonged in another class, one female student was decorating her display
             board for the science fair, and the fourth student entercd the classroom during the later na'lf of t¡é
             period. ln regards to the science competencies, Ms, Phillips statcd that she asked you to display the
             poster conspicuously in an area where all students can easily see them and only suggested that ihe area
             next to the telephone would be a suitable placement. Finally, Ms. Phillips stadd sh;did not ask you to
             write a chemistry curriculum. Rather, she requested that you submit a iist of topics that you plan to
             cover for the remainder of the term so that she could assist you with the backward planning process,
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Case 1:11-cv-05083-MKB-CLP Document 22-5 Filed 02/14/13 Page 27 of 76 PageID #: 308


           a    Ms. Phillips alleged that you became quite belligerent and without warning, you impulsive ly shouted out
                loud "you are harassing m€" in front of the entire class. She further ståted tllat you ãsked her to leave
                your classroom more than once while sho was attempting to complete the observation protocol. She
                further stated that you left tho classroom unattended and you were shouting and had a äiscussion about
                your alleged harassment with another staffmember instead of insfucting your studonts, Upon
                reentering tho classroom, Ms. Phillips alleged that you told her three times in a row of your plans to talk
                with the Qualiry Reviewer by stating "I'll be sure to discuss this with Mr, Glick duringthe Quality
                Review when he comes in tomonow,"




      Based upon thc written statements made by Mr. Kelly and your chemisty students, I have come to the
      conclusion that your behavior was unprofessional, unacceptable and will not be tolerated at Brownsville
      Academy HS. Prior to this inciden! you had confided in me that you were experiencing personal issues which
      had been causing you stress. Although I empathize with you, please understand that I cannot aocept any
      unprofessional behavior from any staff member that disrupts the educational process. As ststed in our meeting,
      if in fact you need to take a break, do not hesitate to call me and I will immediately make anangements to
      provide ooverege for your class so that you can take a break, However, as I indicaied in the meeting, if an
      unprofessional outbu¡st of this nature oocurs again, a letter wìll be placed in yoru file.

      Finally, as per your reques! I have directed Ms. Phillips to assist you in an effort to improve the quality of
      instruotion and implement the very best chemistry course that Brownsville Academy fùgh Schooi .--offer,

      SipÞrely y_oj[,

    ú*--             /-u b ru- --Y
      Jbanne Nabors

     f oundinZPrincipal
      JN:me
      C: LaShawn Robinson, Aspiring Principal
          Lana Phillips, Assisüant Principal




      I have read and received a copy ofthis letter,

               Ju J -{ tJ.
                   Print Name/ Sign Name
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                                                                                       Date




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Case 1:11-cv-05083-MKB-CLP Document 22-5 Filed 02/14/13 Page 28 of 76 PageID #: 309

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         toanne Na 6ors, rÞincipøf                                                 tekpfrone: 7 I 8-7 76-f J 0S
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                                                                                         tFaq; 718-778-2385
         'l(p tswu'14øru4 A s ds tø nt fprincipal


        April 10,2008
         INCIDENT STATEMENT from Mr. Kelly


        On V/ednesday, April 9, 2008 during the 6'h period (lunch) t informed SSA Edwards
                                                                                                             that
        I was going up to the main office to check my mailbox. There were three Intervention
        Refenal Forms submitted by Mr. Weber, Teacher, concerning an incident involving
                                                                                                            three
        students who were all in the same class together. The incidents documented
                                                                                                  by Mr.
        Weber (students not working, wearing eelrings, wearing earphones) happened
                                                                                                    during the
        2nd period on this same day. t stopped by Mr, Weber's
                                                                         classroom (302) to acknowledge
        receipt of the IRF's by simply signaling by a wave of the papers
                                                                                  so as not to disturb his
        lesson. As I did this, turning to leave, Mr, Weber called
                                                                         my name and followed me into
        the hallway. He was in an agitated state and said to me,
                                                                          "I'm being harassed,,, I was
        confrised, thinking he was being harassed by a student until
                                                                             he continued stating, ,,Ms.
        Philips is harassing ffiO, coming into my class, asking for
                                                                          my lesson plan, etc.,, I
        respondcd by advising Mr. Weber to initially speak
                                                                     with Ms. Nabors which he srated he
        already did and that he is going to file a grievance.
                                                                     I had no other response but to shrug
        my shoulders and wark away, returning to the runchroom.




                                 Signed




                                                    LlcAnrlluøcstt
                                                                                                NYC 0251
Case 1:11-cv-05083-MKB-CLP Document 22-5 Filed 02/14/13 Page 29 of 76 PageID #: 310




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Case 1:11-cv-05083-MKB-CLP Document 22-5 Filed 02/14/13 Page 30 of 76 PageID #: 311


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Case 1:11-cv-05083-MKB-CLP Document 22-5 Filed 02/14/13 Page 31 of 76 PageID #: 312


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Case 1:11-cv-05083-MKB-CLP Document 22-5 Filed 02/14/13 Page 32 of 76 PageID #: 313




                            EXHIBIT
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Case 1:11-cv-05083-MKB-CLP Document 22-5 Filed 02/14/13 Page 33 of 76 PageID #: 314
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                                                       Brownsville Acodcmy Hlgh School
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Case 1:11-cv-05083-MKB-CLP Document 22-5 Filed 02/14/13 Page 34 of 76 PageID #: 315




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Case 1:11-cv-05083-MKB-CLP Document 22-5 Filed 02/14/13 Page 35 of 76 PageID #: 316

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Case 1:11-cv-05083-MKB-CLP Document 22-5 Filed 02/14/13 Page 36 of 76 PageID #: 317




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                                                               FO MA L OBSER VATION
     Datc: Febru ary 25, 2010                                                  Teacher: Eli Weber                      Class: SCA2/Chem 2
     Period: 3                                                                 Register: l7                            Attendance: 9
    Pre-Observation Conference: February 24, 2010
    Diploma Plus Competencies: S07. Scióntifìc Systems
    Content Area- Chenri stry
    Post Observation- April I 3, 201 0

    I,esson Obiective:
    swBAT synthesize an understanding of Nucrear chemistry
    Dcar Mr. Wetrcr,

   on, 'l'hursd.ay. February 2:.' 2.01 0- I entered your
                                                         third period classroom ro conduct a fbnnal observation, .l.he
   lìrllowing is a sunrnary of what I observed at the timè
                                                                 of obser"vation, which includes a nanative of the lesson,
   comnrendations 1'or implementing best practices in
                                                             the pedagogy, und ¡.".ornn,,endations for i(ems that
   cclrrectecl and/or inrproved upon.                                                                             needs to be



   Narrative
                                                                                      scholars were present, Two scholars (Eric and Kareem)
                                                                                      ataya) was sharing her beliefs about bad luck and

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   ¿ìs vou canvassed rhe crassr.om in
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   given' I' too' callvassed the room and obscrved
                                                   that four (4) out oinin" (9) scholars clid not understand
   ohentistry as cvidenced by tlie fbllowing scholar.om-.,ìt,                                                nuclear
                                                                 r..orclri during the                     teaching periocl:
               P               -      "I don'l underslsnd',
               R           -          "It's too hsrd',
               E                      "How do I know how long the half -tìfe of øn elemettl is?,,
  upon review of'D              's wttrk, he was calculating lz livesincorrectly,
  c¡ucstiotts correct' but shared with nle
                                                                                     A        was happy about getting two
                                           that it was a lucly guess. ck         úr, u u.ry go.ro unclerstancling of'the topic.
  slle also shared the thct.that .she had prior knowleage
                                                             oi'ñ. topi. ii",n a previous school that slie attended. At
  l0:2laln' you adclressccl the entire clåss I'or the tirsitime.
                                                                 Thefollowing conversation pursued:
              EIY- ',ll/hst is \rsusmuîution?,,
              C/ø.rs- (rto answ,er)
              Ery- "ll/hqt ìs an atom?,,
              C/øsr- (no ønswer)
              EW- llthø is!ìssiorr?
                                                                                                                                        NYC 0190
Case 1:11-cv-05083-MKB-CLP Document 22-5 Filed 02/14/13 Page 38 of 76 PageID #: 319

      You procceded to provicle a sulìlmary of chemistry related topics
                                                                                  that were unrelateci to the w.rks¡eet giverr, then
                 vocabLrlary rhat was coverecr cluring the plevious .t.rvi,
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                Ew- "The Regenls model ìs ínleresting, The informøtion ìs¡rselesr if you don,t knon,how,
                         ll/h'v do you wtont to learn ìt? Il ìnvolw sihe
                         ctterg),? "
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                                                                              food indtntry! wt ot ur" the beneJìts of ,ucleor             Tt
     .l'ltcrc
             rvas no wrap-up activity ancl the scholars were dismissed
                                                                         at the end of the perioclwhile you were still
     cluesli<lning scholars about the detrnition of chenristry
                                                               un¿ other             relatecJ topics,
                                                                                "tiemistry


     Co¡nmendations
      Your lcss'n plan was rea<Jily.available upon n'ìy entrance
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     dccorated with several vistral leaming tnolr.relaied
                                                            to chemisiry."ia*0. quite obvious that you have goocl
     rvillt your scholars basccl on the positìve ancl respectful                                                a      rapport
                                                                     interoctio,,, that both you a'clyour scholars displayecl.



    Secommendations




   Tltere was no evidence of clifferentiation observed
                                                        cluring the time of observation. As written
   very gootl understancling of the subject matter.                                                  above, c.       had a
                                                     Providin! lnrt*"iion that is differentiatetl would
   ca     a' as she is not being challengerJ. ultímarely,                                               really benefìt
                                                          this-could result in ca      becoming disengaged.




  Conclusion
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   Supcrv rsor s



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Case 1:11-cv-05083-MKB-CLP Document 22-5 Filed 02/14/13 Page 39 of 76 PageID #: 320




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Case 1:11-cv-05083-MKB-CLP Document 22-5 Filed 02/14/13 Page 40 of 76 PageID #: 321



                                                         Brownsvillc Acodcmy Fllgh School

                                                                      Wolkthrough

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               - fc¡dbock D¡ovldcd ?o ¡tud:nl¡
               - 3ncourlooGmcnl ond nollvotlon of sludcnìs
               - provklon fo¡ q¡ldcd Þ¡osticc
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               - or.ooniz¡d lcornlno ¡nvir¡nmcnl                                                              V
               - rcsoon¡lvcncss of studcnt nccds
                                                                   ln thr
               - dlffcrcntloÌcd instr"ucllorl
      Comnandotions:
                                                                            Jri/¿,áu any' /zø.                        ,?an z/zze

      R¿conm¿ndotlol
                                                                      ,?

                                                                                        /!24't,nz.e /
                    o sollsfoclorl rolkThrough.
           Thls wo¡ on u¡soflsfoctora rolklhrough.

      I look            lo Ylslt¡ng you¡               ln ?h¿ fulr¡rc lo Gnsuru th¿ succ:ss of our scholors cnd hclplng you 1o mcct ond
                                           for
                                                                                                          ò
                             ,{dnini5t rotor's 5lg¡oturt                                                   Dotc

      I how rcod and rccclwd o cow o1                             ond undcrslond thol o copy ls bcl49 ploccd ln my fllc,

                                                                                           4 - l7 - /c




                                                                                                                                  NYC 0207
Case 1:11-cv-05083-MKB-CLP Document 22-5 Filed 02/14/13 Page 41 of 76 PageID #: 322




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Case 1:11-cv-05083-MKB-CLP Document 22-5 Filed 02/14/13 Page 42 of 76 PageID #: 323


                                                    ßKO'WNS'I I L LE A CAÐIEW( TTI ç ff S C'{OO L
                                                                             1150 lEast New torfrfl.aenue
                                                                                 ßroofrt1n, Nf lIZ12
                                                                                    LaS fu'wn \çt 6 inso4 lprin cip o (

       La n u Q li íffip s, JI s s is t a n t erìn cipa [, lt dn i n ís t ra t, i o n
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       '

           Kp t' w o n a' l|b r rc n,   I   s s is t a n   t tÌ> rínc ipa I S u p r u ís io n                                q.acsinik: 7 1 8-778-2J85

                                                                           FO                   L OBS        A'f ION
    Datc: A¡rril 19,2010                                                       'f'cacher Eli Wcber                           Class: SC'A2/Chcrn 2
    Pcriod: 7                                                                  Register: l2                                  Attendnnce: 7
   Pre-Observation Conference: April 15, 2010
   Post-Obse rvation Date: Aprìl 27, Z0l0
   Diplonra Plus competencies: s04. scientitic communication
   Contcnt Area- Clicnristry


   Lt'sson Obiective:
   SWBAT Construct a Bibliography

   Dcar Mr. Weber.

   on Wedrresday, April 14,2010, you received a notice intbrming you that you were schecluled
                                                                                                                                             f'or a pre-
                                                                                                    al 9:00aln (sec Attachment A- Notice clf
                                                                                                    ou informed Ms, Ingrati, Secretary that you were not
                                                                                                      Friday, April 16,2e10. On April ló, you again
                                                                                                     rn confèrencc. I offered tc¡ work with you on a
                                                                                                       sed to meet with me, you rvere informecl that your
                                                                                                        I I 9, l0l0 as originally schcdule<Ì,

                                                                                                     r third period classroo¡n to conduct a ftrrmal
                                                                                                      scrved at the time of observation, which inclucles a
                                                                                                    ting best practices in the pedagclgy, and
                                                                                                     nd/or iniproved upon,


   N   arrativc
   IJ¡ron cntcring your classroonl at l2:lOpm, 5 schcllars were prcsent
                                                                       anc] ten rrinutcs later, 2 aclctitional
  'scholars arrived. lmmediately Ltpoll tnyarrival, you watkecl o./erto a tripoti with a vjcleo camera,
                                                                                                           tunred it
  on. 0ncl adjusted the lens' Your objectivc "SW BAT Construcr a
                                                                    Bibliogiaphy" was written on the
  whitcboard' In addition, a homcwork a.ssignment rcqucsting that all
                                                                             schit¿irsLornplete their science Fair
  Project was also written, on the column ii thc rc¿u.rf,-unur-.lursroom
                                                                               three examples of stucJent work was
  ¡rostecl- one with a grade of 3 written on it and tlic other two hacl no oomments or corrcctions. The
                                                                                                             worcls
                 ' ân                          on the chalkh,<lar<J. CratTìti common to thc Crip Gang.'8 II 3',
                  on                           ss card near the telephone. You begtn youl clay's leison with
                                                                                                                   a
                 enc                            At the encl '.1{'the tnotnent of silence, you settlcd your scholars
                            ecl t


                                            Weber- What is plugiarism'l
                                            Class- [no answer]
                                            Weber- What's the ditlbre¡lcc with plagiarisrrr from when                                                        NYC 0208
Case 1:11-cv-05083-MKB-CLP Document 22-5 Filed 02/14/13 Page 43 of 76 PageID #: 324


                                                                                                                      2
                                  I was in High School an<J while you are in High School today?
                          l    - What!?l
                          Wcber- I can use the internet to sce if you've plagiarizecl, There are programs
                                 on the World Wide Web rhat wilt let rne know if you've done so,
                          I    - Okay
                          Weber- Here 's another reason why you rvant sources t-or a Science Fair project,
                                 Who would ask a question about a scientist'l
                          CIass- [no answer.l
                          Weber- what happened at the uN [unitcd Nations] about ctobal warming?
                          Class- Iincorrect guesses]
                          Weber- People at the UN {àlsifìecl recorcls. This is an example of why
                                  you have to read to have accurate records,

    A't l2:27pm, you instructed your scholars to lo<lk at thr: orange textbook ancl reviewed
                                                                                             the citations listed
   in the textbook. During the lesson, three (3) scholars (le      ,lo    , antl N     ) were actively engaged in
   lesson being taught. N      ,K        , ancl R      worked exclusìvely on their r.í.n.. fair projãct *J¿i¿
   not participate in the lesson being taught. Dominique left the r:lassrôom shortly afìer the lðssón
                                                                                                        bcgan and
   never returned' After the review, you gave your scholars ten rninutes to create their own
                                                                                                citation uiing the
   textbook as a gpide, then requestecl that they write the example that they createcl on the board.

   As your scholars were rvorking on the task at hand, you retumed your schglar's miclterm examjnations,
   You began by commending K                on her mitltcrm ggade whichr was a 40%, The scholar questioned
   rvhy she was being honored when in fact she leceiverú poor
                                                                      ¡qrade. you repiied that her score has
   increascd signifìcantly cotnpared to her previous test graie, d             made a comment to the scholar
   sitting next to her, "it really doesn't matter if you do well       exams'] as long as you do a Science Fair
                                                                 [cln
   project, you will pass," The other scores in thc ctassroom were o* f'ollor"., -10/is (40%),17l2s
                                                                                                          (6g%),
   N        - 10125 (40%),5/25 (20%),8125 (32%), 10125 (40%), and I 0l2S (40V'o) rnaking the
                                                                                                    midterm
   averagc fbr scholars in attendance40%, You proceeded t<l âsk the three schoiars to ririte
                                                                                                   their example of
   a citation on the chalkb<lard, and then reviewed yourscholar's work as they wrote
                                                                                            theirexamples onìh"
   board, Finally, you wrapped the lesson up with a summary and review otihe terms discussed in
                                                                                                           class,


   Commendations
   As always. your lesson plan was reaclily available upon my entrance in to the
                                                                                    classroom. The classroom
   was neat and well decorated with several visual leamir,g tools related to chemistry. positive
                                                                                                     and
   respectful interactions were observed bctween you and your scholars throughout
                                                                                        íh. aourr" of your lesson.
   I¡ acldition, it was apparent that your scholars were inteiested in presenting thcÍr project in thc upcoming
   Science Fair.

  Your room was scholar centered in thot scholars were working togethcr in grou¡rs to complete
                                                                                                the tasks
  presenled to them. In addition, the soholars who were working oñthe
                                                                      citatì-on assignmenieagerly
  volunteered to go up to thechalkboarcl and shan: theiransweriwith theirclassmat,is,
                                                                                       making-them an
  integral part of the lesson.


  R_ecqmmendations
                                                          s not aligned with tlle chenrjstry curriculum that you
                                                          nt'erence, because you are behind scheclule, it is
                                                         h the ouniculu¡n. In atldition, your objective fìlr thc

  Librariun as it excrusively relared to citing,.r,ou,r.,'i,TfrïH:liltrliTiJTi#;îì-ivingstone'
                                                                                                        NYC 0209
Case 1:11-cv-05083-MKB-CLP Document 22-5 Filed 02/14/13 Page 44 of 76 PageID #: 325


                                                                                                                     3
    As stated in the narrative, I observed you vicleotaping the lesson. On Friday, April 23, 2010, a
    c<lnt.erence was held.with you, Principal Robinson, ÚFT R"presentative plúrnmer,
                                                                                         ancl I regarcling this
    matter. You stated that you were videotaping yourself in your classroom in preparation fbiyour formal
    observation and denied videotaping the lesson that was observed, As per tnË nVC Chancellor's
    Rcgulation A-640 regarding tìlming in school fàcilities, fìlming or phòtt,graphing in school f'rrcilities
    during school hours will be permitted only witlr the rvritten aprrroualof'tñe principat. you did not seek
    such approval fiom Principal Robinson.


                                                            fsuccess rvhen teachers establish high expectations
                                                             al. As statecl in tho narrativet you commended
                                                             ur class's average score on thc midtenn. Although
                                                            e ltlt rear,sured as cvidencccl by her comment .,it
                                                            ng as you do a Science Fair project, you will pass"
                                                             n. During out. post-obsewation conference, when
                                                             u respondcd by stating "l clon't think my grades were
                                                            eds of Regents exatns in your career and tèlt that the
                                                            n a curve and your questions came directly flom the


   As stateclin your previous formalobservation, rvhich rvas helcl on Thursday,
                                                                                   Fcbruary 25, 2010, very
   limited schcllar work was observed displayecl in your classroo¡n. ln adclition, the
                                                                                       woik clisplaye¿ on th"
   llullctin bclard outsidc of your classroom *ar noichanged or r.pclated since your last
                                                                                          observation. posting
   current scholar work around the classroom is an irnpoiient conìponent of your
                                                                                    classroom environment
   bccause it tlakes work that was previously coverecl in the classroom
                                                                         accessible to students, lt also seryes
   as a refèrence point tbr students who may havr' rlissed material or simply
                                                                               nqod to review.



   Conclusion
   This lesson was rated unsatisfactory, I will continue to provicle you with support
                                                                                      in the ttrrm of.an action
   plan to assist you in your lesson planning antl inrplementation,

   I have                        und undern-tand thøt a              be placed in nt¡,Jíle.


    Su                                           Dule

                                                        6
   Tcacher's Signature                           Date

  cc: LaShawn Robinson, principal




                                                                                                       NYC 0210
Case 1:11-cv-05083-MKB-CLP Document 22-5 Filed 02/14/13 Page 45 of 76 PageID #: 326




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Case 1:11-cv-05083-MKB-CLP Document 22-5 Filed 02/14/13 Page 46 of 76 PageID #: 327


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   Løru Añit[þs, flssbtønt rPrincipø[                                              tebpfrorc: 718-775-7305
   fu tw o na'fuareq fl s s u tant Qrincipa   I                                    f acsimite:   7 1 8- 7 7 8- 7 3   I5



   May 5,2010


   Mr. Edward Weber
   Chemistry 'Ieacher
   Employee \;ile #794454


   Dear Mr. Weber:

   You filed a grievance claiming that your rights pursuant to Articles 2 and20 of the collective bargaining
   agreement were violated when your classroom was observed and you received an unsatisfactory rating. I
   held a meeting in my office with you, your union representative, Mr, Plummer and Assistant Principal
   Phillips on April 30, 2010 to dìscuss your grievance.

   I deny your grievance because you failed to demonstrate that you were harassed or that the letter for your
   fltle was unfair or inaccurate.




   Sincerely yor¡rs,


              Robinson




    i)'//"r1,''/ 'i! )o                                                       S-t(--to
   Employee's Signature                                                Date




                                                      'lle Are lÍfre Øestl
                                                                                                                     NYC 0229
Case 1:11-cv-05083-MKB-CLP Document 22-5 Filed 02/14/13 Page 47 of 76 PageID #: 328




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Case 1:11-cv-05083-MKB-CLP Document 22-5 Filed 02/14/13 Page 48 of 76 PageID #: 329




                                                                                                             4r
             B"lr

             May t2. 2010
             To whonl it may concern:

             on May 5.2010.1received a letterfrom Ms, LaShawn Robinson. principalof'Brownsville
             Acadenryllighschool.denyingagrievancelfiledìnApril.20l0, l'hatoriginal grievance
             stales thât my rights pursuant to Articles 2and20 of'the
                                                                   collective bargaining 0greement
             were violated when rny classroom was observed b-v Ms. Lana phillips
                                                                                 on April 9. 2010 and as
             a result, I received an unsatislactory rating,

             Ms' Robinson's letter denying my grievance alleges that I f'ailed
                                                                                     to demonstrate that I was
             harassed or that the lerter placed in my t'ile was unf'air or
                                                                             inaccurate.

             unfortttnately' I must now lake this matterto the next level.
                                                                           and will detail why in this letter.
            Please consider this lc.tter a detaired appeal ot'Ms. Robinson's
                                                                              clenial of my grievance.
            explaining the Lrnf'airness and inaccuracies of'Ms, Phillips'letter
                                                                                 placed in my fìle, and some
            nrost recent examples of the harassment I have been experiencing
                                                                                   tionr Ms. phillips.
            I will lìrst addrcss circulnstances surrounding Ms. Phillips'Formal
                                                                                observation on F'ebruary
            25' 20 10. and her srbsequent written summrry of her visit to rxy
                                                                                    crassroom.
            PRE-OBSERVATION CONFERENCE

            Even the pre-observalion conference. on February
                                                             24, thc clay before the observation, was
            carried out in a harsh manner;

                     l) f was given one day's notice of the timing for rhe Formal observation, arld one
                     hour's notice   the pre-observalion confercnce, fìnding a noticc in my
                     mailbox upon'fn1y arrivalat schoolshortly
                                                                                            teacher
                                                                bef'ore the Frist periocl of the school day on
                    wednesday, February 24' 2010' with the notice
                                                                        was a pÀ-obseruation questionnaire
                    rhat I was to bring. compreted, to a meeting
                                                                 now scheduied   fbr E:50 a,m.. during
                    seco¡rd period, ldo not know rvhen Ms, Phillips
                                                                      expected nre to corrrplete the fbrrn,
                    as lan sure she was âlvare that I had a regularly
                                                                      schedr¡led class to teach cluring tìrst
                    period,

                    2)    I repot'ted to the pre-observation conference with
                                                                              Ms. Robinson and Ms. phillips.
                    at 8:50 a'nl'. and I rvas surprised to find that there
                                                                           was another person, r¡nfamiliar to
                    rnc - 0 principal-in-training from the
                                                             Leadership Acadenry - in artendance. During
                    lhis confèrence, at one point, Ms, phíilips askecr me
                                                                            a quertion, when I tried to
                    ûnswer her. Ms, phiilips grutfly cut me ofl ordering
                                                                             me not to ,,interrupt,, rrer,
                    3) 'l'he pre-observation nreeting continued in this tone, I.'or e.rarnple, when I
                                                                                                         tr.ied to
                    tell Ms, Phillips that I was presenting "Vocaburary-Based
                                                                                   Lcar.ning.,,to my crass that




                                                                                                                     NYC 0195
Case 1:11-cv-05083-MKB-CLP Document 22-5 Filed 02/14/13 Page 49 of 76 PageID #: 330



                                                                                                             ¿/r
                        day, she harshly criticized me in front of Ms, Robinson ând the principal-rn-training,
                        stating that she lelt that Vocabulary-Based Learning is too simpiistic.



                       This totally took me by sLrrprise, since the school's Science Departrnent
                                                                                                  had
                       previously scheduled that I would do Vocabulary-Based Learning,
                                                                                            with the
                       administration's prior approval, including the approval of the clepartment
                                                                                                    hcad, I
                       might add that, along wirh her duries as Assisrant principal, Ms, phillips
                                                                                                   is appointed
                       the head olthe school's Science Department.



             INTRODUCTION TO MS. PHILLIPS'WRITTEN REPORT

             Ms' Phillips begins her written summary of her Formal observation
                                                                                 rvith the tbllorving
             secnringly innocuous statenrent, "on Thursday, February 2s,zor0
                                                                              r entered ¡,our thirJperiod
             classroom to conducf a fbrmal observation," This sentence, however,
                                                                                  omits any
             acknowledgrnent r¡f the t'ollowing:

                  Ms' Phillips had also entered my classroom, with no advance notice,
                                                                                            on the irnurecliatcly
                  previous day (I"ebruary 24, the very same day she
                                                                        had verbally browbeaten me during the
                 second period pre-observation neefing), accompanied
                                                                            by Ms. Robinson, and rhe visiing
                 principal-in-training who had been present at that pre-observation
                                                                                        confbrcnce . At that
                 time, Ms' Phillips and company spent nearly an entire period
                 immecliately ufter rhat second peri.d harrowing pre-obsert,alion
                                                                                  - thirtt periorl, whic,h wqs
                                                                                      meering-in my
                 classr<lom' Dtrring that visit, Ms. Phillips spent the
                                                                        whole time glaring at me with a sour
                 expression.

                 ft is very hard to imagine that it was mere coinciclence thar,
                                                                                  out oIallof the classrooms in
                 Brownsville Academy Fligh school dtrring period three.
                                                                             it was my classroom that Ms.
                Phillips necded to choose as a place to bring Ms. Robinson
                                                                                 and the visiting principal-in-
                training, clir.ctly,/itilon,rng what had arready been a distressing
                                                                                     meeting with Ms,
                Phillìps' Ms' Robinson, and the principal-in-training, lt seems"at
                                                                                       least possible rhat there
                rvas another agenda going on, perhaps that oldenronstrating
                                                                                  to the principal-in-training
                how to successfully bully a teacher in trvo hours tìat (threeiours,
                                                                                        ilyou counr rhe
                consternaf ion I lelt dtrring my fìrst periocl teaching,
                                                                         knowing that I had to show up at the
                pre-.bservation contèrence having had no time
                                                                    ro fillout th; questionnaire),
                certainly, the presence olthe principal-in-training --
                                                                       at both the Lrnusually hostile (even
                lor Ms. Phillips) pre-obsr-rvarion conlbrence AND at        phillips,(and
                                                                         Ms,                Ms. Robinson,s)
                sttrprise visit to my class immediately aflerward --
                                                                       added ro the sense of humiliation
                borne out ol how I was treated.

           Unfbrttlnately, I must conclurle thaf Ms. Phillips
                                                                dirl nll ol'this as yet another act ol
           harass rn en t.

           l¡ the sarne beginning paragraprr of Ms. phiilips written sumr.ìrary
                                                                                of her r.cbruary 2.i,20r0
           [ìormal observation, she states that her sumn]ary
                                                                 includes "commendations fbr irnplementing




                                                                                                                    NYC 0196
Case 1:11-cv-05083-MKB-CLP Document 22-5 Filed 02/14/13 Page 50 of 76 PageID #: 331




             best practices in the pedagogy", Flowever, he.r ,,C
             writtcn sunlmary, were linlited to approving of'the fact that my written lesson plan
                                                                                                  was
             "readily available," her findingthat my classroom was "neat and wellcic'coratccj."
                                                                                                   ancl thar I
             hacl a "good rapport" with the scholars. Not once in that very short paragraph
                                                                                                did she
             comnrcnd ary)thing about my actual pedagogy.

                     It is quite strange lhat Ms. Phillips coulcl not bring herself to find eyen oneaspect
                                                                                                            of'
                     my actttal pedagogy to praise on that dayl |{er conclr¡sions stand in stark
                                                                                                   contrast to
                     those of the other Assistant Principal in the school, Ms, Katrvona
                                                                                            Warren, rvho
                                                                                                     did a
                    "Walkthrough" of my classroom on April9.20l0,
                                                                       anclgave nre an overall rating of
                    "Satislhctorv." in which none ol'her 24 evaluation points were
                                                                                   in the "Unsatisfàctorv"
                    category.

            In that same beginning paragraph of'Ms, Phillips'written summary,
                                                                                  she says lhe surnrrrary
            will also include "recomnrendations fbr ilems thut reerls
                                                                      Isic.lto be corrected and/or
            inrproved upon". lndeed, her "Recomnrendations" section of
                                                                           ihe summary was six times the
            length of her "Comnrendations" section.

            (lt is also odd that Ms. Phillips, in a position of supervising teachers,
                                                                                     and who purports to
            t¡nderstand the way language relates to instruction, worrld
                                                                          choose to inclLrdc such poor
            gramil¿ìr not only this one time in her writtcn report. but
                                                                        in several other places i¡ her
            stltÌìmary' These allare likely fo have been easily caught and corrected
                                                                                         had she merely used
            "Spell and Crammar Check" betbre completing
                                                               her writìngl¡




            NARRATIVE SECTTON OF MS. P}IILLIPS' WRIJ'TEN
                                                                               REPORT
            Ms' Phillips'next paragraph notes that at 9:45 a.m,, three nrinr¡tes
                                                                                  into the beginning of the
            period, when she entered the classroonr
                                                       Iwhen the scholars were.lìni.thinggettingsettled into
            their seats and ready to begin the lesson], three scholars
                                                                        were discussing-a Latteiseemingly
            r¡nrelated to that day's curriculum (',personal conversalion,,).

                   It sce¡ns that Ms. Phillips is grasping at straws hcre,
                                                                           Perhaps she prel.ers thqt I e1ecl
                   scholars liorn the class who have the temerify to
                                                                      need threewhole minutes to settle-i¡l
                   before the class begins?

           Ms. Phillips therr complains that, "The whiteboard displayed
                                                                            the very same objecÌìve.
           conlpetency, vocabulary rvord, and homework assignments
                                                                           that rvere written lhe prcvious
           day.''Pleaseallow me to rernind here. that Ms. Phillips would
                                                                              only be in a position to makc
           sttch conclusions because she had chosen ø¡
                                                            classroonl to visit lor the entire period on the
           vcry previous day, cluite arbitrarily, as I described earlier.

                   llolvever' there is no Department of Education or Brownsville
                                                                                     Acadenry High School
                  policy prohlbiting a teacher's taking nrore than
                                                                     one day fbr theirclasses to work on
                  any objective, cornpetency, vocaburary word, or homework
                                                                                   assignrnent, as thc need




                                                                                                                  NYC 0197
Case 1:11-cv-05083-MKB-CLP Document 22-5 Filed 02/14/13 Page 51 of 76 PageID #: 332




                      arises' I might add that the subject mafier being covered that day
                      * is a very comple,r subject, demanding more than one
                                                                                                            4u
                                                                                               - nuclear che mistry
                                                                                  day,s ef.fort,
              Ms' Phillips then contint¡es, "lt is impolant to note that scholars
                                                                                   did not receive any verbal or
              written instructions Ifor the two handouts I had just given them
                                                                                  at the beginning oictass].',

                      As Ms' Phillips is well aware, howe ver, every day I create
                                                                                         and give out handouts such
                      as these to the scholars for the first part of the class period,
                                                                                          based upon the material/
                     unit being covered that day. tsy February 25 in aschoor year,
                                                                                     it is generaily not
                     necessary to give new verbal or written instructions
                                                                          to the scholars, about whal is
                     required fiom them upon receipt of the handouts. 'fhe
                                                                             scholars know that they are to
                     sit down and get to work on them, plain and simple.

                     In addition' the scholars are not shy about asking
                                                                         me questions cluring their work.
                     They know that I welcome such questions, since
                                                                        ry.iurrroorn is a stuclent-centered
                     environment - a fact of which Ms. phillips has loni
                                                                               been aware.
                     Along with all of this, as explained above. that clay's ¡esson
                                                                                    was a continuation of.1he
                     previous day's lesson which Ms. Phillips,
                                            -                     Ms, Robinson, and the visiting principal-
                     in-training had themselves observed on the previous day.

             Ms' Phillips nexl states that, while I "canvosse'd lhe classroonr
                                                                               in an effort to assist scholars
            on the eight multiple-choice questions they were given,
                                                                        [she], too, canvassed thc classroom
            and observed that tbur (4) out of nine (9) scholars
                                                                  did not unierstand nuclear chemistry as
            evidenced by, ., scholarcomments, . .,,'

                      This is Ms, phillips again ptayìng,,gotcha,,.

                    lf all of the scholars already understood nuclear chemistry
                                                                                 thal day, indeed, I,rl have
                    planncd a differeni lesson lor that day! 'ro
                                                                 my knowlcdge, it is ¡ot an indictable
                    offense when, mid-period, scholars have not yet
                                                                      completel.y grasped the lesson,
            Ms' Phillips then goes inlo excruciating detailed
                                                                 examples of what she alleges tha( some
            individual scholars did not yet understarrd, again
                                                                  as if that indicates some kind of failure on
            my part: one scholar not (yet) knowing how
                                                             to begin calculating the half-life of an element;
            another "calculating % lives
                                         lsic. I incorrectly.,,
                    Yet. the whore purpose of giving the schorars
                                                                   sampre qrrestions -on n.crc¡r
                   chemistry -- fiom lhe Regents'chemistry cxams
                                                                      as a classroom c.xercise. lvas to
                   discover the areas in which cach scholarstif
                                                                I needeti more instrLrction, The I'act that a
                   scholar has tror¡ble wi(h some sample Regcnts
                                                                    exam questions on February 25 - about
                   fbur months belbre the exams wiil be given --
                                                                   is not exactry an indicator or
                   tunsatisfàctory pedagogy on the teacher's parr!

                    It is also more than a little unfair and low of
                                                                    Ms. Phillips. that she qlrores the normal
                   grunts and groans orschorars asked
                                                           to comprete an exercise 1,,f don,t understand,,,,,rt,s
                   (oo hard"' etc') ancl seizes
                                                 upon lhot as a reason that these scholars,
                                                                                             teacher shor¡ld
                   receive an "unsatisfactory" rating! Since
                                                                 when is it the teacher,s responsibirity to




                                                                                                                    NYC 0198
Case 1:11-cv-05083-MKB-CLP Document 22-5 Filed 02/14/13 Page 52 of 76 PageID #: 333




                      makc'sttre that no scholar ever cxperielrces any nloments of
                      I   esson?
                                                                                                                   1r
                                                                                           not-yet-getting-it during a

             Ms' Phillips states that "A         was happy about getting two qLrestions correct, but sharetl
             with nre that it was a lucky guess."

                     The thct that A       successfully answered the two questions probably shows
                                                                                                  that
                     this scholar was making educqted guesses, rather than "lucky"
                                                                                             ones. That A
                     allegedly fèlt the need to guess somewhat is, again, not
                                                                                      a sign that her teacher is
                     runsatisfhctory, Rather, it's a topic, within nucrear chenristrj,
                                                                                       that A          now
                     knows she should rvork on some mo¡e, in order to b, prepar.d
                                                                                         f.or the June Regents
                     exflm, so that. by then. she won,t he guessing,

             Ms' Phillips then continues by stating thal, "C       has a very good unde rstanding of the
             topic' She also shared the lact that she had prior knorvledge
                                                                           nrlr'e topi. lrom a previous
             school that she attended,',

                      'l'his is yet another,,gotcha',
                                                        morllent lrom Ms. phillips,
                    This tirne, Ms, Phillips is implying that a scholar who "has
                                                                                         a very good understanding
                    olthe topic" mtlst not have obtained that understanding in
                                                                                Mr. weber's class. No
                    doubt, if Cl      did not have "a very good underslancl-ing of the           phillips
                                                                                      topic,,,Ms.
                    would have incrr.rded those negative ailegations in her
                                                                            sr¡Ãmary of my pedagogy, ioo,
                    as shc did about an<¡ther scholar, D

                    rt appears from this, rhat according 10 Ms, phiilips,
                                                                           if a schorar does not
                    instantaneoL¡sly understand nuclear chemistry
                                                                   halfway through the class. it,s a reason
                    1o criticize Mr' weber, Yet, even when scholar
                                                             a          r/oes underitand the topic thar soon.
                    there mt¡st be some explanation other than that she
                                                                          is being laught successfirlly by Mr.
                    Weber.

                   lncidentally, ca      reported lo methaîshe had never learned nuclear
                                                                                         chenristry in
                   a'y of her previous schoors, contrary tl Ms. phiilips'
                                                                               assertions,
           Ms. Phillips states that, "At l0:2 r a.m.
                                                     [the crass had begun ar 9:45 a.m.J, you addressed the
           cnrire class l.or the fir.st time."

                   it woLlld have been stlfticient for Ms, Phillips to simply
                                                                              state rhat at l0:21. I addressed
                   lheentireclass. flerinclusionofthewords."fbrthelfìisttime,"isyetanotheruu.nrp,
                   al playing "gotcha." implying rhat I rvas,somehow
                                                                     remiss in rrot having acldressc¿ the
                   entire class as a group ettrlier.

                   Yct. as explained alrcacly. approximatcly the
                                                                 fìrst two,thirds of the lesson was a
                   strdent-cenlered exercise, ín which the schorars
                                                                     worked ind.pendenrly,
           Ms' Philìips then stated that "the following conversation
                                                                          pursued Isic, -shoulcl be,ensued,]:,,
                    llW- "What is transmLrtation,l,'
                   Cllass- (no answer)
                   EW- "What is an atom?,,




                                                                                                                    NYC 0199
Case 1:11-cv-05083-MKB-CLP Document 22-5 Filed 02/14/13 Page 53 of 76 PageID #: 334




                      Class- (no ansler)
                      EW- "What is fission?"
                                                                                                         LIJ
                      Class- (no answer)


                        | )        1-hese excerpts are quoted out olthe context ofthe lull prcsenralion
                                                                                                        I
                        nlade when addressing rhc class at that lime.
                        2)            Ms, phiilips, unrike rhe sc,horars. f'aired to grasp that trrese were
                        rhetorical questions, meant to emphasize to the scholars
                                                                                   what to tbcus on in their
                        study of nuclear chenlistry, (Also, see Iist of vocabulary
                                                                                   terms on the lesson plan
                        for that day, which included trans,mutation and.fissictn.l

                        3)            lt is nry undcrstanding that the Forrnal Observations are to be
                        constructive in nature, at least in part, Ms. Phillips
                                                                               instead, as evidenced by her
                        summ8ry report' has used the Formal Observation process
                                                                                       as yet
                                                                                        another fbrum to
                        harass and attempt to undermine ny work as an
                                                                       educator, taking nearly each and
                        every benign (or even positive) occurrence in my classroom.
                                                                                    and grotesquery
                        twisling it into something negative.

                        4)          Even il I hatl wanted the scholars to answer rhese quesrions
                                                                                                   as they
                       came up within my ftrll presentation to the class,
                                                                          the I'act that no one answered the
                       questions is' again, nol an indictable oflcnse by
                                                                         the teacher! There are nrany
                       reasons why sludents do not always volunteer
                                                                       ro answer guestions posed by a
                       teacher in the classroom. (But, again, as explained
                                                                            before. in ¿åls case these rvere
                       rhetorical questions, and the schol¿rs understooct thatl)

            Next' Ms' Phillips noted (on page two of fhe "Narrative"
                                                                        section): "you proceedecl to provide
            a surnmary of chemistry relaled topics lhat were
                                                                unrelated to the worksheet given,,,

                    The areas that sonle scholars needed help on, as
                                                                       I observed during their work on the
                    given worksheet, were some chemistry topics
                                                                     covered earrier in the year, on which
                   these scholars needed some more review,
                                                               and upon which are built many aspects of
                   nrtclear chemistry, The brief discussio r/review
                                                                      olthese chemistry topics, and their
                   relationship with that day's topic nuclear chemistry
                                                     -                      - conveyed to the scholars the
                   sequence of understanding chemistry. e.g.,
                                                                 for a schorar at tìrsr having dif.ficulty
                   understanding nuclear chemistry. a short review
                                                                       of the question, "what is an alom?,,is
                   ìndeed appntpriate,lrol ,,unrelated,,' as
                                                             Ms. phillips urr.rtr.
                  chemistry' like math and so many othersubjects,
                                                                       builds fiom subtopic to subtopic.
                  Thus. review of the earrier "buirtring brock,'
                                                                 concepts is sometirnes necessary.
                  Similarly' rny brief inclusion of the relevant practical
                                                                           applications    olnuclear
                  chemistry (fbod industry, nuÇrear energy) was
                                                                     compretery appropriate -- a good
                              I'or some scholars in the class -- and nor "unr.lut*.J,"
                                                                                       as Ms, phiilips unfhirly
                  Ï;:Ltttt
           Ms, Phillips remarked that, "There was no wrap-up
                                                                  activity,,in this crass session.
                  on the contrary; in fhct, the revicw orthe vocaburary
                                                                        terms,,covered during the
                  previous day's resson        in this lesson!]"
                                          lantt                  was a *iup-up n,," i6, resson as rve¡.
                                                                                                              r




                                                                                                                  NYC 0200
Case 1:11-cv-05083-MKB-CLP Document 22-5 Filed 02/14/13 Page 54 of 76 PageID #: 335




                     explajned earlier in this letler that nuclear cl enristry is
                     day,long topic,

             Ms' t']hillips then stated that, "the scholars were dismissed
                                                                                  no1 necessarily a mere one-
                                                                                                                 lk
                                                                           at the end of the period while you
             were still qucstioning scholars about , . , chemistry_related
                                                                               topics.,,

                     The thct that I taught right up to the last moment of class
                                                                                  time is a sign that the
                     Department of Education is getting its money's worth
                                                                              fionr me, surely ntlt a reason f'or
                     Ms, Phillips ro complain!



             (l have alread,v discussed this section earrier in
                                                                  this letter; see pages 2-3.)



            Ms' Phillips claimed my lesson objective SwBAT'l
                                                      -            synthesize an understanding of nuclcar
            chenristry -- was "vague" and therefore "did not
                                                             achieve the desired resurt',.
                    'I'his is inaccurate
                                           on both counts, and is therefore arso unrairl
                    'l'he combination
                                         of the scholars'work on thc rwo handouts, with
                                                                                             class iJiscussion
                    revierving the "buirding brock" chemisrry concepts
                                                                             rearned previousry, and apprying
                    lhesc concepls to nuclear chemistry, along with
                                                                         my pres.ntati<tn of.the relevance ancl
                    societal benefits of nuclear chemistry, precisely
                                                                         s.vnìhe,sirc an unclersØnding .l'the
                    trtpic of'nuc'leur c:henrisrry, with the schorars,progressive
                                                                                     work in generar añ.,rirt,y
                    thus l'ar.

            Ms' Phillips stated that, "To ensr¡re that scholars
                                                                  understood the lesson, it is imperative that
            you check lbr ttnderstanding periodically
                                                           within the teaohing period to assess horv well
            leaching and leorning are taking place,',

                    Yet' Ms' Phillips herselldescribed earlier.
                                                                   in her summary report, that I in lact clicl
                   check a.d assess <Juring several points in the
                                                                      lesson. stating that I:
                       l)            "canvassed the crassroom in an eft'ort
                                                                               to assist schorars,,,a¡ld
                       2)            qucsrioned schorars "about the defìnition
                                                                                   of chemistry and other
                       chem i.stry relatccl topics,',

                   Both of these activities, on my parl, were
                                                              am.ng the ways rcheckecr fbr
                   trnderstanding to ässess how we'teaching
                                                               and rearning were taking praccr

                                                                ft out ofthis part olher report the fact thal,
                                                                                                               as
                                                                ized during the lesson thal some scholars
                                                                 of some topics covered earlier in the school
                                                         d to understand th¡t day's topic -_ nrrclear
                  chemistry' I srvitche<j gears cnd brietìy
                                                       reviewed these earlier topics based on
                  of having "assessed how wet teaching and                                      my flct
                                                           rearning ur. rukíng'pru...,,




                                                                                                                    NYC 0201
Case 1:11-cv-05083-MKB-CLP Document 22-5 Filed 02/14/13 Page 55 of 76 PageID #: 336



                                                                                                        ¿/¿-
                      'l'his is yet
                                  ano(her exanrple ol'Ms. Phillips'unfair pattern of twisting
                                                                                              my good
                      edt¡cator qualities around to make me look deljcient as
                                                                               an educatorl ln thct, t
                      consider ir libeloust

              Ms' Phillips asserted tha[, ", , . a scholar would have needed
                                                                             to already have a good
              understanding of nuclear chemistry to answer the questions
                                                                             on the workshee      t therefbre
              making the worksheet inappropriatc for the objective f'or
                                                                             the day,,,
                      'l'his assertion
                                   of Ms' Phillips might have been true had I given the scholars onlytl.re
                      one worksheet with only the multiple_choice Regents questions.

                      But. in thi                                             eniently omits/forgets that I gave
                      the schola
                      Regents
                     needed
                                ,
                               in
                                                                              :i::ill?;Jï,:ï;iilî1,ï'
                                                           emistry section of the chemistry Regents exam!
                                                                                                                .n.

                     'fhis other
                                handout summarized infbrmalion presentecl in the prior
                                                                                        day's lesson. This
                     other handout thus mqde it completely appropriate fbr
                                                                            even a scholar who did not
                     (yet) have a good working knowlcdge of nuclear
                                                                      chemistry, to help them successfully
                     fÌgure outat least sonle of the Regents'questions
                                                                             onthe uíhrrhandout of the day.
             Ms' Phillips claimed that there was "no evidence of
                                                                 iliffèrentiation [differentiated
             instruction]" in my lesson.

                      Nothing could be lurlher from the truth!

                     The nor-Regenrs scholars in the crass were challenged
                                                                                   and stretched by the
                     clisct¡ssions of both the industrial and practical
                                                                          applications of nuclear cnergy, while
                     the Regents schorars in the crass received the
                                                                    vaiuaure opportunity to appry these
                                of nucrear chernisrry to rhe sampre Regents q.',"rtionr
                    ::ï:p:
                    nan0out.
                                                                                        r provided in rhe


                    Furthcrmore. the brief impromptu re view of
                                                                  relevant chemistry topics covered earlier
                    in thc year, such as, "what is an atom?", whire
                                                                    mainry tor tt,e benefit of the non_
                    Regents scholars. also provided a valuable
                                                                additionaireview for the Regents scholars
                    in the class.

                                                  rs, the worksheets on nuclear chemistry _
                                                                                               while not easy _
                                                  ard to those chemistry topics that the non_Regents
                                                                                                        scholars
                                                  reviewing fl rst, in order to perhaps later develop goo<1
                                                                                                      a
                                                  cmistry.

                   Chernistry instrustion sirnply does not ge1 much
                                                                          more,,dif'terentiated,,than that!
            fhis letter is vc"ry long already, but (in her Rec
            Phillips )'et ug¿t¡n argued her earlier l.alse
                                                           asser
           laken her earlier unlàir antl untrue allegation
           of nuclear chemistry f'ronl a previous school
           ('xtrapolated it to the point
                                          of decraring that, "she is not being   chailenged.,,




                                                                                                                      NYC 0202
Case 1:11-cv-05083-MKB-CLP Document 22-5 Filed 02/14/13 Page 56 of 76 PageID #: 337




                        I must again emphasize that Ms. Phillips'earlier
                                                                                                              4/v1
                                                                              statement rvas false, according to
                        C          hersellì as mentioned earlier in this letter, 'lherefbre,
                                                                                             for Ms. phillips to now
                        speculate that "ultimately, this could resurt in
                                                                           c         becoming disengaged,,,is so
                        or¡t-of-line as to be irresponsible!

                     I am frankly surprised that Ms, Phillips would
                                                                        stoop this low just to add nrc more
                     insrrlt to all of her other harassnrent, taking
                                                                     a sur:cesslitlly leurning sc,holar, and
                     conjuring up a scenario of prophe.rying trouble
                                                                         where it cloes not existl



             I menrioned earlier in this lener that Ms, Phillips
                                                                     is also the ofiìcial head of Brorvnsville
             Acade my's Science Department. In this capacity,
                                                                      she has ulrloftunaraty nuo the opportunity
             to additionally buily and harass me on nrmerous
                                                                    occasions.
            The lrarassment I have experienced from
                                                            Ms, Phillips prior to this situation inclucles:
                    I   ) Ms. phiilips verbaily ordering me - she woul<r not put this in writing __ ro nor
                    allow any of the scholars in my crasses to take
                                                                   the Regents exams mid_year, in the
                    2008-2009 school year' Ms, Phillips cited
                                                               supposed diftìculties in deternrining horv
                   nany labs these frequently-transferring scholars
                                                                     will have actually had bef.ore
                   graduating' I had several scholars during
                                                             each ofthose years, who could have passed
                   rhe chemistry Regents exam, bur they aia
                                                              nor get t¡e
                   Ms' Phillips' decree. Again, I suspect that another
                                                                                 oip
                                                                                 ¡nì',, ,o .u.n rry, due to
                                                                        agenda rvas at work herç,
                   I must also add here that' five years ago, during
                                                                          my fìrst year at Brownsville Academy
                   lligh School, il was my responsibility to create
                                                                          a chemistry tab lor the schoof . one of
                   the basics ofsuch a lab is a ventilation hood,
                                                                        lndeed, atthattime I ordered a very
                   nice ventiration hood, among ail of the other
                                                                    equipm.nt pri.r,rrro to create thc rab.
                   Five years later, the hood is stiil not hooked
                                                                   up, hauing n.u..' u..n instailed by the
                   school despite several reqrrests by me to
                                                               the schoo|s aãministration.
                   2) Ms' Phillips'has repeatedly bullied me, in her attempts ro humiliate
                                                                                                     me over
                   rnatters of curricurum, in fronr orother
                                                                facurty and principar Robinson.
                   For example, a( a Prolessional Development scssion
                                                                        he ld last sÈmester, several other
                  faculty ¡nembers were making a presentation
                                                                on the topic ot.aìoom,s Taxonomy, a
                  currently popular eclucationar toor, During
                                                              rhis preseniation, r was ristenirrg
                  attentively and minding nry own business.
                                                              sudåenry, vs, nt ittip, singred nre out ¡nd
                  ordered me      to comment on rvhat rvas being taught,
                                                                         even though r was not one or.the
                  lirculty presenters at this professionar
                                                              Developmcnt session.
                  ln tiont of the other thcurty nlenrbers af the
                                                                 session. r (arone) was now expected
                  answer Ms, phiilips'question. "Mr. weber,                                          to
                                                                 what do you trrink.flthe concept
                  Taxonomy] being taught at today's professionar                                  IBroorn,s
                                                                      o.u*topn,.nii,-
                 since the session was not cornpleted yet,
                                                           I rvas reluctant to comment, because I
                 wanted to hear the whore presentalion
                                                       before anaryzing it or ararving uuy
                 conclusions. But Ms. phiilips pressed
                                                       me f'or my ,ev¡ew of the loncept. So
                                                                                              I asked




                                                                                                                   NYC 0203
Case 1:11-cv-05083-MKB-CLP Document 22-5 Filed 02/14/13 Page 57 of 76 PageID #: 338




                      one qttestion, seeking clarification on the Bloom's Taxonorny concept of questions
                      having "levels" based on their complexity.
                                                                                                           I^l
                      The next thing I knew, Ms, Phillips publically asked me to leave the Prof'essional
                      Development sessìon, and she immediately summoned Ms. Robinson via rvalkie-
                      talkie, to "discipline" me l'or rrerely posing a question - one which I clidn,t want to
                      formulate or pose in the first place!
             'l'hus, it seems that I have
                                       been set up to be shot down, repeatedly, by Ms, phillips, Iike a
             decoy duck for targel practice! I am at a loss as to how to understand such irrational
             harassment attacks on me as ân educator, Bur. regardless of where Ms. phillips
                                                                                            is coming
             from in misbehaving this way toward me. there has been a regular pattern of her significantly
             halassing me like this.

             THE DENIAL OF MY ORICINAL GRIEVANCE OF THIS FORMAL
             OBSERVATION

             Ms Robinson's May 5, 2010 lelterto me denies my grievance because she felt I'd "failed
                                                                                                                 to
             demonstrate that [l] was harassed [andl that the letter
                                                                     [the report Ms. phillips wrote
             containing the unsatìsfactory ratingJ for
                                                       [my] fìle was t¡nfhir or inaccrrate.,'
            As Ihaveshown inthis letter, in majordetail, Iwas indeed harassed, andthe lefierformy
                                                                                                  fìle
            was defìnitely both unfair qnd inaccurate, for numerous reasons.

            In Ms' Robinson's deniaI letter, however, Ms. Robinson slates that she held
                                                                                        a nrecting in her
            ofTce with nle, my ttnion representative (Mr. Plumnrer), and Assistant principal phìllips,
                                                                                                                 on
            Âpril30,20l0,todiscussmy<lriginalgrievance. Therewasamisunderstandingabouithe
            ptrrpose of'thjs April 30 meeting, ancll was told thatthe
                                                                      meeting would be inlbrmal in
            rlattrre, Ilad I known thatMs, Robinson and Ms. Phillips considered
                                                                                    this to be thelormal
            tneetirrg to address my grievance' I would have been more than willing
                                                                                       to prescnt there all ot'
            the point-by-point infornratitin I have prescnted herein this letter.
                                                                                  Thus, it is certainly worth
            considering that Ms. Robinson might rol have so quickly denied
                                                                               and dismissed rny original
            grievance of Ms' Phillips'behavior and letter, had the complete piclure
                                                                                       been presente¿ at ttrat
            April 30 meeting,

            Regardless. I reqrrest here that rny gricvance be otÏcially appealed
                                                                                     to thc nexl level.
            ln addition. I f'cel that it should perhaps be examinecJ whether it is
                                                                               even lair and proper fbr her
            to be both the head olthe Science Departnren t, and rhe Assistant principal
                                                                                             assigned ro
            evaluate ¿¡nl olthe science teachers in the school, as there ìs
                                                                              a potential conflict of interest
           .here,

            lf there is any more infbrmation Ican provide on th¡s nratter, please t-eelfiee
                                                                                               to contacl nre.
           S incere ly.


           lvlr. [:dward J. Weber




                                                                                                                      NYC 0204
Case 1:11-cv-05083-MKB-CLP Document 22-5 Filed 02/14/13 Page 58 of 76 PageID #: 339




                            EXHIBIT
                                       V
Case 1:11-cv-05083-MKB-CLP Document 22-5 Filed 02/14/13 Page 59 of 76 PageID #: 340


                                    ßKO'tlWS v I r, t,ß AcLanilt ff r ç r{ s cffo o L
                                            1150 lEtst New (orftflecnue
                                                      Ørooftþn,      Ift tIZI2
                                                  L aS fiawn Rp 6 ius o th tbinc ip a   î
    Lana Qfril[ips, ].ssistant rPrilwipat
                                                                                            'Íe[ep ño rw: 7 I E - 7 7 E- 7 3 0 5
     Typtwotu'Ilaten" As sistant Qrincipat                                                  facsimi[¿ : 7 I I - 7 7 I - 7 3 E 5

                                                       Obse¡ryation Renort

    Teacher: E, Weber                   Conte¡llicense Äre¡: Science - Chemistry            Cl¡ss: Chemistry SC2/4
    Pre-Obsery¡tion:                    May 28,2010
    Obse¡r¡ation Datet                  June 1, 2010 Time: l2:14 pm l:03 pm     -
    Post Obse¡vation:                   June 18,2010
    # of Schol¡rs Present               8            # of Scholars on Register              l2
    SummarX of Lesson
    When I entered your classroom,      scholars                                                                                  ic
    Particles." You opened the lesson by tell
   Electron," Your objective for the day     wa                                                                gend for
   the Periodic Table of Elements, After reviewing the        chart,                                           f the
   isotopes as they occur in nature. You then askeã a scholar to read the handout ,,Mr, Neutron
                                                                                                 has his day.,, After
   reviewing the handout "Atoms and their Parts," you placed scholars into groups Uy rtuiin! to one group
                                                                            -heré"                          of
   scholars "you guys sit over here" and to another     group                       w-hile moîioning yãur hand in the
   direction you wanted them to go, You then started      the                ou began the game b/stating ,,Okay,
   Iet's begin," A scholar from one of the groups selected th

   Scholar - Stable or Not for $300
   Mr. Weber - What has a negative two charge?
   Scholar - What is oxygen?
   M¡, Weber - I would say it's similar,
   Scholar - Electrons for $200
   Mr, Weber - Negative Charge
   (Random answeß were called oul,)
   Scholar   - Electons
   Mr, \rly'eber - O.K., I'll accept that.

   Throughout the course of the game, scholars becarne confused as the rules and regulations
                                                                                             of the game were not
   made olear. The following conversation ensued:

   Mr. weber - \ühat is the question? what does this have to do with the question?
   Scholar- You have to ask a question where the answer is.
   Scholar I - I think you have this backwards!
   Mr. Weber - I don't even have a TV!'
   Scholar 2- That's why you don't know how to play it!

   I'he lesson continued with scholars choosing categorìes an




  You ended the lesson at l2:53pm, l0 minutes early, When a scholar informed you that there was
                                                                                                                 more time
  remaining in the class, you brought the scholars back together and continued piaying
                                                                                       Jeopardy until the end of
  class. You did not conduct a wrap up for this lesson,
                                                      We Are tfre Øestl
                                                                                                                             NYC 0230
Case 1:11-cv-05083-MKB-CLP Document 22-5 Filed 02/14/13 Page 60 of 76 PageID #: 341


   ' Classroom Environment¡
       r    Thc room appeared to be neat and clean with some desks facing the board and computers at the back of
            the classroom.
       o    There were materials posted around the classroom that directly related to the content,
       ¡    The work displayed on the bulletin board outside of your classroom was not changed or updated since
            your last post-observation conference which was held on April 27 , 2010, You were informed at that time
            that your bulletin boards need to be updated,

   Comme¡dations:
       r    In your 2009-2010 Teacher Development Plan, you stated that you would like to infuse more technology
            into your cuniculum, Your use of the computer for the Jeopardy review was one way of infusing
            technolory into your lesson and moving one step closer towards meeting your goal,

       ¡    '[he good rapport that you have established with your scholars was evidenced by the relaxed atmosphere
           in the classroom, Your demeanot, friendly and pleasant, and your sense of humor added to the leaming
           experience,

   Recommendations:
      r Thc objective of the day was "SWBAT Count Atomic Particles." At no time during tle lesson did you
         refer to the objective of the day, direct scholars toward a meaningfrrl discussion around the topic, or refer
         to your objective as a m€ans of assessing schola¡s at the end of tÌ¡e lesson. Please ensure that you are
         encouraging scholars to reflect on the concept of the day, Accountable Talk is an effective tool to meet
         this objective. Accountable talk not only fosters critical thinking, it also enoourages scholar participation
         and serves as an assessment strategy. In addition, Accountable Talk is directly aligned with the
         Expectationsfor Teaching and Learning which states that "scholars wilt read, write, listen and speak for
         social interaction,"

      a    During your Pre-observation conference, you stated that you wanted to play a game with your scholars, so
           Ms, Warren shared a sample online Chemistry Jeopardy game with you, During your lesson, you used the
           sample that was provided without editing the game to align it with your high school Regents Chemisty
           class, For example, for the answer "the force that holds a nucleus together" a ssholar responded "What
           are Nuclear Forces?" You accepted the answer as being con€ct and moved on to the next question,
           During our post-observation conference, when we discussed this issue, you responded that the actual
           answer is "Forces of atomic attraction." As we discussed, the scholar's answer was incorrecç but you did
           not correct the scholar, You indicated that you allowed the scholar's ansìver to stand because you had not
           covered this topic in your curriculum.

           In addition, you did not explain tle rules of the game to the scholars and your expectations were not made
           clear. When a scholar told you that you "have the game backwards" you responded by stating "l don't
           even have a TV!" which further increased the scholars' level of confusion.

           During our post-observation conferenoe, you acknowledged that you had not adequately planned in
           preparation for the game, You also stated, "l thought the kids would be more familiar with the game.,, I
           should really make my own game" and "lf I could do it differently in the future, I would change it." Please
           ensure that you align curriculum and instruction and properly prepare for your classes by reviewing all
           aotivities and questions that are included in your daily lessons.

      a    You ended your lesson at l2:53pm, ten minutes before the period ended. A scholar remínded you that
           tìere were ten minutes remaining in the period. You then continued playing Jeopardy until the end of the
           period, During your post-observation conference, you stated that you were nervous because you were
           being observed by several administrators, [n addition, you did not have wrap up activity, as per the
           expectations for'l'eaching and Learning handout (see attached), which you received during our September
           2009 staff meeting. When planning and preparing your lesson, please ensure that you are following the
           Diploma Plus Workshop Model and lnclude a wrsp up of the lesson. The data collected from the wrap up


                                                  'We Are lfÊe Ø¿st!
                                                                                                             NYC 0231
Case 1:11-cv-05083-MKB-CLP Document 22-5 Filed 02/14/13 Page 61 of 76 PageID #: 342

           is formative assessment data and will provide you with information to inform your daily lesson planning
           and grouping, and help you in detennining scholars who need additional assistance,

           Further, during our post observation conference, we discussed your New York State Regents pass rat€.
           Eight (S) scholars completed the Chemistry Re gents examination and their scores were as follows:

                RIAI               38                               NISI     48
                KIBI                                                N¿I'TIgO
                                                                    ET
                                   42
                VIHI               sl                                                 52
                KIRI               59                                                 50

           You were confused as to why scholars did so poorly on the Chemistry Regents exam. ln addition, you
           were baffled as to why so many scholars simply did not show up to take your €xam. I informed you
           that I will speak to each sohola¡ to find out why they did not report for tha Chemistry Regents
           examination. As we discussed, curriculum, instruction and assessment must be aligned. One way to
           assess soholar attainment of Chemistry content and skills and your instruction, is to assess scholars
           during every lesson. This assessment can occur throughout your lesson in the form of questioning,
           written and oral responses to the Do Now, providing scholars with an opportunity to answer your
           Learning Objective and through written activities. Assessment can also occur during the wrap up,
           Therefore, it is very important that you conduct E wrap up/assessment activity during every lesson.
           Again, the data oollected fiom the \vrap up is formative assessment data and will provide you with
           information to inform your daily lesson planning and grouping, and help you in identiffing scholars
           who are advanced, on track and in need of additional assistance . Ms, Phillips worked diligently with
           you in this area all year, to no avail. As we discussed, I will continue to allow your colleague, Mr,
           Andrews and Diploma Plus Coach, Dr. Jenkins to support you in this area and adminisfratively track
           and monitor your progress. Please be reminded that support is positive. Earlier thìs year, you informed
           me that you did not want anyone in your classroom. In order for you to irnprove instructionally, you
           must weloome constructive feedback and classroom observers.

       a   In your 2009-2010 Teacher Development Plan, you stated that you wanted to incorporate more writing
           into your lesson which is aligned with our school-wide insûuctional focus of Writing Across the
           Cuniculum. One suggestion that was given during the post-observation conference was to incorporate
           writing assignments as a way of having scholars reflect on the lesson, This reflection will provide you
           with assessment data to inform instruction in your classroom, In addition, having scholars cr€ate a
           written summary of what they've learned for the day is one way of incorporating writing into your
           lesson (and including s wrap up activity). As you plan for future lessons, please ensure that you are
           incorporating writing into your planning and instruction which has a direct impact on scholar growth in
           knowledge, skills, appreciation and aüitud€ toward the subject matter. You may refer to the
           "Expeclations þr Teaching ønd Learning" handout that you received during the September 9, 2009
           PLC or your notes from the May 12, 2Ol0 Scientific Inquiry Based Questioning Professional
           Development that you attended for fr¡rther clarification.

   Overall, this lesson has been rated Unsatisfactory.

   I will continue to work with you to ensure the suçcess of our scholars


            3                                                                  ¿ltrlo
                        Ro                                                      I /n*"
                           Q,eceiv'¿e\ elzgl,o
   I have read and received a co¡y of this observation report and understand a copy will be

                I U'/-.
                                                                                                  in my file.

                                                                               ( 2'.3
                  E. Weber, Teacher

                                                   'lüe Are lfñe $est!
                                                                                                            NYC 0232
Case 1:11-cv-05083-MKB-CLP Document 22-5 Filed 02/14/13 Page 62 of 76 PageID #: 343




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Case 1:11-cv-05083-MKB-CLP Document 22-5 Filed 02/14/13 Page 63 of 76 PageID #: 344


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       f,ana Qfülfrps, Assisønt tprincipa[
       KÍtwont'l,lane4 Assistant fprincipaf                                           'fefep ñoru: 7 1 S- f Z S - Z J   0j
                                                                                      ßaaimi&: 7tE-ZZ6-ZJSt


      May 3, 2010 (Amended November J,20t0)

      Mr. Edward Weber
      Chemistry Teacher
      Employee File #794454

      Dear Mr. Weber:

     on April 23' 2070' at l0:55am, I met with yo,r1, your
                                                            union representative Mr. plummer
     Principal warren in my office to discuss an allegation                                  and Assistant
                                                             tharonïpril 13, 2010, during your coverage of
     Ms'Goodrum's 8t period class, schol-. rro^ oärr
                                                          ;iu;;;;ïere cutting in your room, The schorars

         .*-T.r
     cutting ir¡;g classroom are as follows:
         . cInI
         ''rlr[
                                                                       :ffi




  we reviewed strategies that we discussed during
                                                        a previous meeting. I reminded you
  indicated that in the fufure, you woulà                                                   that you previously
                                             certainly-takf time ouian¿ remove any
                                                                                     schorar(s) who do not
                                                tl/e Are Tfre Øettt
                                                                                                                 NYC 0218
Case 1:11-cv-05083-MKB-CLP Document 22-5 Filed 02/14/13 Page 64 of 76 PageID #: 345
     belong in your cìassro<lm. In addition, the strategy that we discussed to eliminate
                                                                                            this problem was that
     you will welcome scholars into your classroom ãi the beginning
                                                                         of the period and ensure that scholars
                                                            wer the door to make certain that only the scholars
                                                              allowed to enter the classroom. you also indicated
                                                              100 if a cutting scholar fails to comply with your
                                                              the class list ifyou have a coverage.

     Plea                        our desire to support you in your efforts to ensure that scholars
                                                                                                    are in their
     appr                        onal support systems include Mr, Kelly, who can be contacted
                                                                                                   at extension
     403,                        be contacted at extension 205 or the main office at extension
                                                                                                s 122 or 123, In
    addition, please feel free to contact me directly via Ms. Ingrati at ext. 122 (she
    the building) and I will personally remove a s"hola, from
                                                                                          .-
                                                                                           nn¿ me anywhere in
                                                                lour classroom,

                                                                   classroom is a very serious infraction, robbing
                                                                    in the classroom that they are scheduled to
                                                                                      and personality growth of

    ctassroom records so thar you are aware orthe     schor
    your classroom by removing scholars who do not be ng.
                                                                                         äl;ji::iåT:iï,ï:J;J,l"",
    Please be advised that this incident may lead tofrrther
                                                            disciplinary action, including an unsatìsfactory rating
    and charges that may lead to your termination. Please
                                                           make i.nuln that scit¡lars are not cutting ìn your
    classroom.  Thank you for your cooperation in this matter.


    Sincerely yours,

                    14.t-
               Robinson
   Principal


   I have received this letter and understand that a copy will
                                                                 be placed in my file.




   Signature
               4t   ,,/ ./J*t"-                                                          lt-g-/ö
                                                                                  Date




                                                14e   Ãn tfie ßestt
                                                                                                       NYC 0219
Case 1:11-cv-05083-MKB-CLP Document 22-5 Filed 02/14/13 Page 65 of 76 PageID #: 346




                       j -i' lnrcrl F¡¡   Thls ll,ry       Do nol send cover aheets
                                                                                                               lr           264t046



                                   Â't$:        CE,N'IRÂL\|"p


                                                        N^À'E
                                                                                                                        CENDER




                                               STATUS
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           STATEMENT



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      PREPAR¿I TION ST ATTIlIENT

       Slrtcmçnt by:

      D¡lc:
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                                                                     [orn Rcvi¡iolr D¡to 7/2ól2üll




                                                                                                                                 NYC 0220
    Case 1:11-cv-05083-MKB-CLP Document 22-5 Filed 02/14/13 Page 66 of 76 PageID #: 347
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Case 1:11-cv-05083-MKB-CLP Document 22-5 Filed 02/14/13 Page 67 of 76 PageID #: 348




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Case 1:11-cv-05083-MKB-CLP Document 22-5 Filed 02/14/13 Page 68 of 76 PageID #: 349


                                     2-l-l2ln the Matter of Mr, Weber
   SHEET 1.




                                 THE STATE EDUCATION DEPARTMENT
                            THE UNTVERSITY OF THE STATE OF NEV\Ï YORK

                                               In the Matter of
                                 NEW YORK CTTY DEPARTMENT OF EDUCAT]ON
                                           v.
                                      EL] WEBER
                  Section 3020-a Education Law Proceeding (File #fee)


              DATE:                         February 1-, 201-2
              TÏME:                     9:30 a.m. to 11-:38 a.m.
                                        1-:50 p.m. to 3:57 p.m.
              LOCAT]ON:                 NYC Depart,ment of EducaLion
                                        Office of Legal Services
                                        49-51 Chambers Street
                                        New York, NY 10007

              BEFORE:                       JOHN WOODS, ESQ
                                            HEARÏNG OFFTCER




                        Ubiqus Reporting,   lnc.   2'l-12ln the Matter of Mr, Weber
                                                                                      NYC 0979
Case 1:11-cv-05083-MKB-CLP Document 22-5 Filed 02/14/13 Page 69 of 76 PageID #: 350


                                                     2-l-l2In the Matter of Mr. Weber
   SHEET 10
                                                                  60                                                                                                  62

         ROBINSON. DIRECT - CUMMINGS                                    I    ROBINSON-DIRECT - CUMMINGS
           A. Yes,                                                      2 Lu. Ge., well page fout,
                                                                                          as            as

           Q, Did you give the year rating-this                         3        Q, And whatare             frve thoughpages                         seven?
    year rating to the Respondent?                                      4        A, This is              fiom Mr, Weber,
                                                                                                            a response

           A, Yes,                                                      5        Q. And whatare             eight tluough
                                                                                                                       pages

           Q. And did lt4r, Weber sign for receipt?                     6 twelve?
           A. Yes.                                                      7        A, This document was amended in November
           Q. Directing your attention to DOE                           8 0f2010, Sothesepagesinthebackaretheoriginal
    Exhibit 5 in evidence, which his one page, what is DOE              9        from the original document, I don'tremember
                                                                              pages
    5?                                                                 10 the numbers that you said, but the letter fiom
                                                                                   page
           A, It is a letter requesting a meeting                      ll me-{his is original letter,
                                                                                               the
    with lt4r, Weber,                                                  12        MS, CUN{MINGS: And just letthe record
           Q. And how do you recognize DOE 5?                          13 reflect that the witness was refening to page eight,
           A, I had my secretary create this letter                    14        A, eight nine would the
                                                                                              So             and                        be
    and I signed off on it to meetwith ltfr, Weber to                  l5 original letter, And the difference in the two,                              there
    discuss scholars cutting in his classroom, an                      16 is information included in this letter about                           a

    allegation,                                                        l7 previous--or several previous incidents ofcutting in
           Q. Is DOE Exhibit 5 a truç and conect                       l8 Mr, Weber's classroom, The that follows is from     page
    copy ofwhat you wrote for April 20th, 2010?                        l9 Mr, Kelly [phonetic], teacher in the building, who
                                                                                                                  a
           A. Yes,                                                     20 submitted letter myself Assistant Principal
                                                                                              a             to               and

           Q. And why did you schedule to meet with                    2l Phillips regarding frustration that was having
                                                                                                             a                          he
    the Respondent on--for April 23rd, 2010?                           22 with the cutting in Mr, Weber's classroom, And the
           A, To discuss scholars cutting in his                       23 nextpage is the statement from scholm Lu, Ge-
                                                                                                        same
    classroom,                                                         24 the next two            pages,

           Q, And did you give this letter to the                      25        TI{E HEARING OFFICER: 0kay, Let me

                                                                  6r                                                                                                  63

         ROBINSON - DIRECT - CUMMINGS                                   I    ROBINSON - DIRTCT- CUMMINGS
    Respondent?                                                         2 interject for minute, Hearing reporter, whenever
                                                                                                  a

           A, Yes, he received it,                                      3 you hear student's just give me the initials,
                                                                                          a                      name,

           Q, And did you have the meeting with the                     4        COURTREPORTÏR:Okay
    Respondent on April 23rd, 201 0?                                    5        THE HEARING OFFICER:                     continue,     Please
           A, Yes,                                                      6        Q,    And  why  did you amend   this letter on
           Q, Directing your attention to DOE                           7 November 5th,2010?
    Exhibit 6 for identification, which is 12 pages, do                 8        A, Mr, Weber grieved the original letter
    you recognize this document?                                        9           it included information from the event from
                                                                               because
           A, Yeah,                                                    l0 December             was-he grieved the incident
                                                                                               and he                               on                  based

           Q, And what do you recognize this                           l1 the 90 day rule, At the one grievance I did not
                                                                                                                      step
    document to be?                                                    12 edittheletterbecausethisletterreflectswhat
           A, This document was a letter that was                      13 happened during meeting, during meeting,
                                                                                                         the                      So,        the
    generated after the disciplinary meeting on April                  14 I noted that this was ongoing in Mr, Weber's
                                                                                                                 an                issue
    23d, And it was regarding a cutting incident in Mr,                l5       and l\4r, Palmer [phonetid, the UFT rep,
                                                                               class                                                                   stated,
    Weber's classroom during a coverage, and a scholar--               l6 "Well, what is pattem you're noting?" And I
                                                                                                      the                that
    there was money stolen from a scholar which ended up               17 included this pattem from Mr, Kelly's letter dated
    leading to a fight in the school and the assistant                 l8 December llth. Andwhenitwenttoasteptwo
    principal being injured,                                           19 grievance we            to omitthat information,
                                                                                                      agreed                                           and

           a      How do you recognize this document?                  20        why the letter was
                                                                               that's                                  amended,
           A      I wrote this document,                               2l        Q, Is DOE Exhibit 6 lrue and conect         a

           a      Is that your signature on page lwo?                  22 copy ofthe letteryou wrote lt4ay 3rd, 2010, and    on
           A Yes,                                                      23 amended onNovember 5th,2010?
           a      Who wote page three and four?                        24        A, Yes,
           A      Page three was written by a scholar,                 25        Q, And the attachments you provided to
                                 Ubiqus Reporting,lnc,           2-l-12In the Matter of Mr. Weber
                                                                                                                                                                 NYC 0988
Case 1:11-cv-05083-MKB-CLP Document 22-5 Filed 02/14/13 Page 70 of 76 PageID #: 351


                                                               2-l-12In the Matter of Mr, Weber
     SHEET ]-2
                                                                            68                                                                                       70

 I    ROBINSON - VOIR DIRT - LICHTEN                                           I    ROBINSON - VOIR DIRT - LICHTEN
 2 me, Ms, Cummings, what letter you saying not  are            is             2        Q, All right, the page--the tenth
                                                                                                                  So

 3 in fiont of Ms, Robinson?                                                   3 page of this documentis $ill in Mr, Webe/s file,
 4         MS,CUMMINGS: Mr.Lichtenisrefeningtoa                                4 Is that your testimony?
 5 letter--a December letter that ten was annexed to
                                            page                               5        A, Yes.
 6 well,
       as                                                                      6        Q, Aside from being part of this     as

 7         THEHEARING OFFICER: Yes, okay,                                      i exhibit? It was put in his file in December of                         2009?

 8         MS, CUMMINGS: A¡d that letter is not in                             8        MS, CUMMINGS: Objection. It's two
 9 fiont  ofthe Arbitrator,      that's the que$ions that
                                    and                                        9 different que$ions,
l0 he was refening to.                                                        10        A. The letter that you're refening to
11         MR. LICHTEN: I'm asking-                                            I fiom-l don't know the date, but I understand what
                                                                                 I                                                     do
12         MS, CUN4MINGS: finterposing] And it's not                          12 you're saying-is not in lt4r, Weber's file,
13 being offered into evidence in this hearing.                               13         Q, Okay.
14         THE HEARING 0FFICER: Okay,                      please
                                                        continue,             14         A, Because that was totally         a               separate

l5         Q, The tenth page of this document was                              5 incident that discussed cutting,
                                                                                 I                                           cutting
                                                                                                                                  severe                as

16 attachedtothatDecemberletter, Isthatright?                                 ló well,
l7         A. Yes,                                                            17         Q, 0kay, When was tenth             the   of this    page

18         Q. Andyouhadagreedatsteptwoofthe                                   l8 document in Mr, Weber's frle?
                                                                                             put
l9 grievance           that that December letter, in
                    process                                                   19         A. With this letter, it emerged          part       as a

20 addition to this attachment, would be taken out of Mr,                     20 ofa discussion fiom disciplinary meeting that
                                                                                                                  a
21 Weber's file, Is that ri$t?                                                2l occuned on April 23rd, 2010.
22         A, Iagreed to omit-                                                22         MS CUMMINGS: Andlettherecordreflect
23         Q, flnterposing] Can you answer? Would                             23 when said "this letter," pointing
                                                                                               she                          she's                to page
24 that--is thattrue?                                                         24 eight nine of DOE Exhibit 6 for identification.
                                                                                               and
25         MS, CUMMINGS: Objection, -,                                        25         Q, Okay, The eighth           ninth  and              page


                                                                            69                                                                                       11

 I     ROBINSON.VOIRDIRE-LICHTEN                                               I     ROBINSON-VOIRDIRE.LICHTEN
 2        THE HEARING OFFICER: Ovenuled, continue,                             2 where--are dated--is letter May 3rd, 2010. Is
                                                                                                                  a          dated
 3        A. I         to omit this information
                         agreed                                                3 thatright?
 4 here, This letterwas also attached to the letter                            4         A, Yes,
 5        May 3rd,
        dated                                                                  5         Q, Andwhenwastheeighthandninthpage
 6        THE HEARING OFFICER: And again-and again,                            6 given to Mr. Weber?
 7 there number ofletten being discussed
                are a                                                          7         A, He didn'tsign for it, I don't                     have
 8        MS, CUMMINGS: And just let the record                                8 the date for that, sir. I find out for you,
                                                                                                                      can
 9 reflect when said "this part here,"
                             she                       she's                   9         Q Do you lmow was the eighth nine                      and
l0 refening to page nine ofExhibit 6 for                                      l0 page given Mr, Weber?
                                                                                                     to
II identification.                                                            l1         A, TheletterdatedMay3rd,2010?
12        THE HEARING OFFICER: Thank you, okay.                               12         Q, Conect.
l3              CUN{MINGS: The fìve bulletpoints,
                N4S,                                                          13         A, Yes,
14        THE HEARING OFFICER: You got it, All                                14         Q, Do you know was it before-given                             to
15 right                                                                      l5 him before November of 2010?
16        Q. My que$ion ìs-it's yes or no--did                                l6         A, Wasitgiventohim-yes,thatwasthe
17 you agee partof the $ep fwo resolution to take
                        as                                                    l7 basis of the--where Mr, Weber gieved he-l think               and
l8 the tenth page of this document out of Mr. Weber's                         l8          it here in his letter that
                                                                                       he says                          received it,
                                                                                                                                  he
19 file?                                                                      l9 "This letter to respond--"
                                                                                                     is
20        A. I         to omit this information,
                         agreed                                               20         MS, CUMMINGS: flnterposing] Ju$ for the
2l         Q, That's not answer to the que$ion.
                                   an                                         2l record, the witness reading from five of DOE
                                                                                                                 is                     page
22        MS, CUN4N4INGS:            nine, the five bullet
                                          Page                                22 Exhibit for identifìcation,
                                                                                                 6
23 points,lettherecordreflect.                                                23         A, He         that "This letter
                                                                                                          says              to          is
24        THE HEARING 0FFICER: Ms, Robinson is                                24 respond from-to the letter fiom Ms LaShawn Robinson
25 answering the question, Mr. Lichten,                                       25         May 3rd, 2010, but which was delivered to me
                                                                                       dated                                                                    at

                                        Ubiqus Reporting,Inc.               2-l-l2In the Matter of Mr, Weber
                                                                                                                                                                NYC 0990
Case 1:11-cv-05083-MKB-CLP Document 22-5 Filed 02/14/13 Page 71 of 76 PageID #: 352




                            EXHIBIT
                                       Y
Case 1:11-cv-05083-MKB-CLP Document 22-5 Filed 02/14/13 Page 72 of 76 PageID #: 353
                                                                        Page I of                                             1




  From: Rank Kevin (17K568)
  Sent: Monday, March 22,20t0 10:46 AM
  To: Robinson LaShawn (17K568); Moorer Danielle (17K568); Ingrati Melissa (17K568); KarolJaime (17K568);
  Andrews Kwane (17K568); Hameen Hanan (17K568); Weber Edward (17K568); Kittrell Latoya (17k568); Lovell
  Adrian (17K568); Plummer Karl (17K568); Chevere Amanda (17K568); Day Kim (79K568); Zarrillo Vincent
  (17K568); Peters Ketisha (17K568); Dr, Ivy Klenetsky; Livingstone Lloydia (17K568); Kelly Ronald (17K568); King
  Leon (17K568); Brown Lynette (17K568); SundackCooksJacqueline (17K568); Warren Katwona (17K568); Lyle
  Thelma (17K568); Ramsawak Diana (17K568); Goodrum Melissa (17K568); Phillips Lana (17K568); Kamdar
  Sachin (17K568)
  Subject: Line Schedule and Class Lists

  Hello All:
  Here is the student line schedule and the class lists. lf you have any trouble opening them please let me know.
  Also, these are the official class lists. lf they are incorrect for any reason (i.e. a student is not on your roster or a
  student has never shown up to your class), please let me know immediately.

   Have a great day,
   Kevin




                                                                                                                     NYC 1562
Case 1:11-cv-05083-MKB-CLP Document 22-5 Filed 02/14/13 Page 73 of 76 PageID #: 354




                            EXHIBIT
                                       Z
Case 1:11-cv-05083-MKB-CLP Document 22-5 Filed 02/14/13 Page 74 of 76 PageID #: 355




           June 8, 201 0

           To Whom lt May Ctrncern:

           This letter is to respond to the letter lrom Ms. LaShawn Robinson dated May 3,2010, but
           which was delivered to me at 3:00 on June 4,2010 and placed in my personnel file, This
           disciplinary letter is the latest example of the type of repeated, systematic harassment I
           have been receiving f'rom the administration at Brownsville Academy High School.

           ln this latest drama, Ms. Robinson basically accuses me of not being clairvoyant of the
          current class list,/o r q class that w'as nol eycn my ou)n, which I did the favor of covering
          - at short notice -- in that teacher's absence. Ms, Robinson is accusing me of not being
          enough ofa truant officer, in essence: one scholar attending that class turned out to nol be
          attending the conect period of the absent teacher's class. That truant (from whatever
          other classroom he was supposed to be attending at the time) scholar has now been
          allegedly accused (not even found to be definitely guilty!) of stealing ÍÌom another
          scholar in that class during that period. Ms, Robinson is now trying to cover her own
          liability t'or this (allegedl) incidènt, by trying to blame     oni.¡rñher, to threaten rny job
          performance rating over this alteged (unproven!) inc.ident! ^",

          It appears to me, as well, that they are grasping at straws here, as their accusations against
          me âre tenuous at best, as I describe in this response/grievance letter. But they are using
          these tenuous, nervy, passing-the-buck charges to potentially threaten my career, and I
          am forced here to answer their harassing letter.

          This is another stunning example of the modus operandi of this administration. They
          want to blame me for an alleged incident that they could have prevented. if it indeed evcn
          occurucd' With a full-time dean, a lead teacher who only teaches a handful of classes,
          three pnncipals, and barely 200 scholars it is shameful that these administrators
          nevertheless operate the school this way. Blaming me is a poor substitute ftrr doing the
          rìght thing,

          They also had full knowledge - in advance that there was a thief in the scholar
                                                        -
          population, but never took the time to share this information with scholars and stafT in
          advance of the alleged theft incident. When Mr. Plummer brought this up at the nreeting,
          they had no an.swer to his questìon.

          I tìid call Ms. lngrati about receiving a class list at an even more recent date than when
          this supposed incident occuned. She probably t'orgot to send it up to my classroom that
          clay, as she is very busy running Brownsvitle Academy HS. I remernbei clearly that I had
          to send a scholar down to get the lìst for that class, which I covered even after ihis alleged
          incident.

         And as for threatening me with a "U" rating, they have been trying to find ways to give
         rrle a "U" all year' This is yet another stunning example of their cãmpaign of'harasiment
         and distraction' Instead of embracing teachers who relate well to the schlolars ctnd yt,ho
                                                                                        ,




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Case 1:11-cv-05083-MKB-CLP Document 22-5 Filed 02/14/13 Page 75 of 76 PageID #: 356



                                                                                             ?r
           actutrlly teach thcm, these administrators spend their energy and time harassing the
           educators.

          To threaten my job performance rating over something like lå¡'s is simple harassrnent, not
          to mention libelous! This school's administrators have the potential to be doing so much
          to improve the leaming enviromnent and atmosphere, and instead, here they arã wasting
          their time searching for ways to harass teachers, while simultaneously attempting to
          absolve themselves for whatever mishaps (or alleged mishaps!) occur on their watcht,

          And they have yet again place<J me in the position of having to potentially divert teaching
          energy and focus from the scholars in my chemistry classes, to defènd myself from Ms.
          Robinson's and Ms. Phillips steady barrage of harassment acts, including rny having to
          respond to yet another contrived, twisted letter from them in ry personnel dlr,

           I hereby offìcially fìle hcre a grievance, ancl request the immediate removal from my
          personnel file of Ms. Robinson's afbrementioned letter of May 3, 2010 (but not givén
                                                                                                  to
          me until over one month laler, June 4,2010, as described at the beginning of thiJ letter). t
          further request that they cease and desist from this kind of repeated haraJsment, so that
          all of my energies can always be focused where they belongl on the scholars' progress in
          leaming, and on the classroom environment.

          Perhaps most important, I have been advised that I have additional grounds
                                                                                  to cornpel the
          removal of Ms. Robinson's previously-mentioned letter fiom ,ny p.ìro*el file:

                 In the letter, these administrators reference a prior disciplinary action that they
                 attempted to take against me last March; to quote Ms. Robinson, fiom this May
                                                                                                         3
                 letter (which I was not presented with until June 4), "l indicated that you have
                                                                                                       a
                 pattem of allowing scholars to cut crasses in your classroom.
                                                                                  [union
                 representative] Mr, Plummer stated, 'what pattern?"0 In the May 3 letter, Ms,
                 Robinson then proceeded to quote from malerials used and inclutled by Ms.
                 Robinson in a prior disciplinary letter agains t me, However, rhat prioi
                 disciplinary actio.n was sttcccss.fully grietted, in March-Apríl o!'tiris year, ancl that
                 prior leiler was then remot,edfrom myfite!

                 Nevertheless, in this new letter (the May 3 one I am grieving here) Ms, Robinson
                 wrote, "We reviewed strategies that we <liscussed auiing a pievious rneeting
                                                                                              Ithe
                 rneeting conceming lhe prior successfi,tlly gricved letrcì rcnot,ed.from
                                                                                              m,y
                 personnelJìle]," and "You also indicated
                                                              [at that previous meeting, whicü resulted
                 in thç letter that was success/ully grietted and removedfrom m¡,,/ì\e)that you
                                                                                                    will
                 notifv school satbty by dialing extension I00 if a cutting scholãí faús to órnply
                 with your directive(s) to leave the roorn, Further, yno tiitt utilize the class
                                                                                                 list if
                 you have a coverage,"

                 In this "¡lew" letter of May 3 (which I only received on June
                                                                               4), rnentioning
                 information tlom that prior letter -- which was already successfully gríet,eã
                                                                                                    a,d




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Case 1:11-cv-05083-MKB-CLP Document 22-5 Filed 02/14/13 Page 76 of 76 PageID #: 357




                  rcn,oyed,Írom my.lìle -- is a violation clf the 90-day clausc, hencc this new
                  reckless, harassing lettcr must also be immediately removed fiom my file.

          (l might acld that, even if the prior letter had not been successfully grieved, therc is no
          "pattem" here, except one by the administration of Brownsville Academy l{s - a
          "transfer school," where the students transfer in and transfer out frequently, This
          administration's "pattern" has notbeen to make sure teachers are always and timely
          provided with up-to-date cla,ss /r.s/s, reflecting cnrollnrcnt changes that occur.fie quently
          over the coursc o.f'thc.semcster, for their own classroom scholars, nor tbr the scholars in
          theìr fellow teachcrs' classes fbr whom they may cover fiom time to time, This issue has
          been clngoing and is one of many still adversely af'f'ecting the teachers' work,)

          No class list was made realistically nor reasonably available to me that day, despite the
          Ms. Rclbinson's clairns to the contrary, Even when the subject (of the lack of available
          ct¡rrent class lists for teachers covering in another teacher's class) was brought up more
          recently, at a professional development meeting, most teachers in our school agreed that
          they still clid not have practical, timely access to scholar lists fbr classes taughiby other
          tcachers.

          The academic year is nearing a close, and this matter neecls to be resolved quickly
          '['hank you.


          Sincerely.




          Edward J. Weber




                                                                                                        NYC 0224
